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To the competent authority of the United States:

Request for extradition of a person 30.01.2013 No PRP-6/12 /7720
from the Prosecutor's Office of the Republic of Estonia

pased on the extradition treaty between the Government of the Republic of Estonia arid the
United States Government, signed 08.02.2006, we are hereby presenting you a request for
extradition requesting the United States to extradite to the Republic of Estonia Aleksandr
Rotko (personal identification number 34902270228, born on 27.02.1949 in Ukraine),

.. The request for extradition is issued by the Northern District Prosecutor's Office.

' The requested person Aleksandr Rotko is suspected of using a movable of another in his

~ possession for his own benefit and for the benefit of a third person committed by a group of
persons, that is a criminal offense which is classified pursuant to the Estonian Penal Code §
201, 2 (4) and of damaging and destroying of a thing of another, by which he has caused to
the owner of the thing, the Republic of Estonia, significant damage, which is a criminal
offense which is classified pursuant to the Estonian Penal Code § 203.

 

(Signature)
Senior Prosecutor of the Northern District
Prosecutor's Office Maria Entsik

 

 

  

  

| Translated by Anna Yastrebova. EXT-ROTKO-000043 e ne ee
The translator is aware of the criminal responsibility as per sections 318 and 32) af the Pent Code Jor A
 

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NORTHERN DISTRICT PROSECUTOR'S OFFICE

Request for extradition of Aleksandr Rotko 30.01.2013 No PRP- 6/12/7720

{ INTRODUCTION

|, Maria Entsik, a citizen of the Republic of Estonia and a prosecutor in Estonia since
11.09.2000, hereby declare the following: My function is toymanage the pre-trial criminal
roceedings, ensuring its legality and effectiveness and to’ represent in court the state
indictments against persons who have committed a crime under the laws of the Republic of

Estonia.

In the capacity of the Senior Prosecutor's professional duties, [ am familiar with the materials
of the criminal case No 06730000427, in the framework of which have been collected
evidence and in which is suspected Aleksandr Rotko (personal identification number
34902270228) together with Olga Kotova (personal identification number 47711285211) in
that they deliberately violated and destroyed buildings and facilities in the ownership of the
Republic of Estonia in Tallinn in the territory of Kiiti 17 and 17a, which with they caused
significant property damage to the Republic of Estonia in the amount of 1,988,260.00 EEK
(Estonian Kroon) (Please note that Estonia is currently in the Euro Zone and the permanent
exchange rate of EEK to Euro is 15.64 kroon to one euro) The criminal case is the pre-trial
stage of the proceedings. Aleksandr Rotko, in order to avoid criminal proceedings, has left the
Republic of Estonia.

Pursuant to CCP § 457 Section 3, in pre-trial proceedings the Prosecutor's Office shall prepare
for a foreign state a request to extradite a person.

This request for extradition has been prepared and submitted to the United States of America
with the request to arrest and issue to the Estonian Republic, the suspect Aleksandr Rotko
with a view to bring charges against him pursuant to the Estonian Penal Code § 201
subsection 2 clause 4 and § 203 and prosecute Aleksandr Rotko to bear liability for the crimes
committed by him.

Il DESCRIPTION OF THE FACTS
The criminal procedure in this case was started on 22.09.2006 with the following facts.

On 14] 1.1997, the Republic of Estonia submitted through the Estonian Ministry of Justice to

the Tallinn City Court an action against OU B & E, AS Verest and OU Agrin Partion to

'*Cognize the right of ownership of the Republic of Estonia in the buildings located in Tallinn,
"tt 17 and Kiiti 17a (in the territory of the Seaplane Harbor) and reclaim them from the
Clendants' illegal possession (the asset formerly was in the possession of the Soviet Army).

     
    

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“"anslatop j _.__, EXT-ROTKO-000044 2 ; Shp. Ap
‘vj OF I! ‘e : k ‘ 318 and 321 of the Penal Cod@Jyor 2 24
dos Peni Pe Be eins Of ctl respon lly 28 pa s8EttGs i Saas”

 

 
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On 14.02.2005 Estonia submitted a supplement to the statement of claim and asked to
ne property rights of the Republic of Estonia also on the plot located in Tallinn,

emiZze tl
oe d Kiiti 17a and to order delivery thereof from the illegal possession of the

Kaiti 17 an
defendants.

On 09.03.2005 the Republic of Estonia submitted to the Tallinn City Court for involvement of
AS BPY and ELA Tolli AS, as defendants and complemented the statement of claim with the
above claims against AS BPV and ELA Tolli AS.

AS Verest, OU Agrin Partion, ELA Tolli AS and AS BPV,'were all during the period of
committing the crime (July, 2006) at the address Kiiti 17 in Tallinn and their management
bodies included Aleksandr Rotko and Olga Kotova in the capacity of the Council and Board
Members. This is confirmed by the print out of the commercial register on the above

companies.

On 04.07.2005 Tallinn City Court made a decision, which upheld the action of the Republic

of Estonia against OU B and E, AS Verest, OU Agrin Partion and ELA Tolli AS, but

dismissed the action of the Republic of Estonia against AS BPV. On 01.03.2006 the Tallinn

Circuit Court made a decision, which upheld the appeal of the Republic of Estonia and upheld

the action of the Republic of Estonia additionally also against AS BPV. On 07.06.2006 the

. Supreme Court refused to grant the leave to appeal to the cessations of the defendants and the
judgment of Tallinn Circuit Court came into force on 01.03.2006.

The bailiff ordered the defendant to voluntary compliance by the deadline 31.07.2006.

On 17.07.2006 representatives of the Ministry of Justice went to the neighboring registered
immovable (real property) to observe the situation, which resulted in submission of an
additional claimant's statement on 19.07.2006, in which the claimant disclosed to the bailiff
that the illegal holders (including AS BPV) have started removal of significant parts of the
buildings which are subject to transfer to the Republic of Estonia in the composition of
buildings and immovable property. They had begun to remove the concrete pier cover plates
and performed other demolition works. These observations were made by Tiit Einberg,
representative of the Maritime Museum operating in the neighboring registered immovable.
On 27.07.2006, Harju County Court made a ruling regarding the bailiffs request to stay in the
territory and the buildings of Kiiti 17 and Kiiti 17 and for establishing a manned security at
the expense of the claimant. Under the Ruling the bailiff with representatives of the Ministry
of Justice entered on 28.07.2006 to the territory of the Seaplane Harbor and observed the
Situation of the property of the Seaplane Harbor. The bailiff identified in the Seaplane Harbor
demolition and removal of various properties, which is fixed in the relevant report.

a result of the enforcement procedure carried out on 01.08.2006, the Republic of Estonia
°0k the buildings and the territory located in Kiiti 17 and Kiiti 17a into its possession.

he Proprietary loss caused to the Republic of Estonia by the broken and removed object: —

  

 

otding to the initial report of criminal offense consisted of the following: (Fo Na rs.

2) Removal of the cover plates of the berth 1,680,005 oviigs os
Removing of railway rails 156,060 ffgons cf
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The nated by Anna Yastrebova. EXT-ROTKO-000045 ioe 3 A
Prone Stator is aware of the criminal responsibility as per sections 318 and 321 of the Penal Cowes sa”

 

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Damaging of the building of the boiler house and removal of the boilers 12,500

3)
kroons fea
4) Removal of boilers from the wood industry building, 25,000
kroons :
5) Cutting off of the water, heat and power supply of the

administrative building 54,300
kroons .
6) Removal of the hatches of the openings of the seaplane hangar canopy 20,000
kroons .
7) Removal of gates and destruction of locks “ 40,400 kroons

TOTAL 1,988,260 kroons

The testimony of the witnesses (Valdo Seiler, Tiit Einberg, Olga Savitskaja, Aleksei

Bassenkov, Ténu Rinaldi, Olga Novoseltseva) heard in the course of criminal proceedings has

confirmed that the berth plate and railway rails were removed in the summer of 2006, and the

orders for that were issued by Aleksandr Rotko. Although Olga Kotova was formally a

member of the management board of AS BPV, she worked in fact as the company secretary
| and the activities of the company were actually led Aleksandr Rotko.

In the course of the criminal proceedings it was identified that the removed railway rails were
sold by AS BPV to the company AS Kuusakoski an entity engaged in buying scrap metal on
M 26.07.2007 at 173,160 kroons, plus VAT.

The removal and destruction of property carried out in the territory of Kiiti 17 and Kiiti 17a,
Tallinn, is also fixed in the protocol of inspection of the scene on 28.09.2006.

Based on the above Aleksandr Rotko (personal identification number 34902270228) is
suspected of committing an offense qualified under the PC § 203, which consisted in his the
being the Supervisory Board Member of Ou Agrin Partion, AS Verest, AS BPV and the
b Board Member of Ela Toll AS, jointly and in coordination with Olga Kotova who are the
\ Board Members of OU Agin Partion, AS Verest, AS BPV and the Supervisory Board
Member of Ela Toll AS, from 07.06.2006 to 01.08.2006 destroyed and damaged intentionally
the buildings and facilities in the possession of the Republic of Estonia located in Kiiti 17 and
) 17a, Tallinn, by which they caused significant damage to the Republic of Estonia. Namely
Without the permission of the Ministry of Justice, the representative of the owner, the
Republic of Estonia. important parts of the berth - road surface plates in size 0.14 x 2.00 x
6.00, in total 460 pieces, cover plates in size 0.13x1,23x1,6, the total of 164 pieces and cover
Plates in size 0.13x1,23x 0.94, in total 35 pieces - were removed_on the order of Aleksandr
Rotko and in the knowledge of Olga Kotova in the registered immovable in Tallinn, Kuti 17
and 17a, creating a damage to the Republic of Estonia to the extent of the cost of the plates,
'€., in the amount of 1,755,096.60 kroons.

 

me Aleksandr Rotko is suspected of committing an offense qualified under the PC § 203._
Which consisted in him being the Supervisory Board Member of OU Agrin Parti N 7
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®test, AS BPV and the Board Member of Ela Toll AS, jointly and in coordination yf ieOigg —
“lova who is the Board Member of OU Agin Partion, AS Verest, AS BP fe) 1

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upervisory Board Member of Ela Tol! AS, from 07.06.2006 to 01.08.2006 destroyed and
damaged intentionally the buildings and facilities in the possession of the Republic of Estonia
jocated in Kiiti 17 and 17a, Tallinn, by which they caused significant damage to the Republic
of Estonia. Namely without the permission of the Ministry of Justice, the representative of the
owner. the Republic of Estonia, gates were removed on the order of Aleksandr Rotko and in
the knowledge of Olga Kotova in the registered immovable in Tallinn, Kiiti 17 and 17a, and

were destroyed, creating a damage to the Republic of Estonia in the total amount of 33,040 -

kroons.

4} In total, Aleksandr Rotko and Olga Kotova caused property damage to the Republic of
". fstonia in the amount of 1,788,136.60 kroons. oa

i Thus Aleksandr Rotko has committed damage and destruction of a thing of another, which

~ has caused significant damage to the owner, the Republic of Estonia, i.e., he has committed
©. crimes qualified under PC § 203.

Ye Also Aleksandr Rotko is suspected of committing offense qualified under PC § 201

F subsection 2 clause 4, namely his being the Supervisory Board Member of OU Agrin Partion,
AS Verest, AS BPV and the Board Member of Ela Tolli AS jointly and in coordination with
- Olga Kotova, who is the Board Member of Agrin Partion, AS Verest, AS BPV and the
». Supervisory Board Member of Ela Tolli AS, performed from 2000 until 01.08.2006 unlawful
possession in the territory belonging to the Republic of Estonia in Kiiti 17 and Kiiti 17a,
* Tallinn. During the period 07.06.2006 to 01.08.2006 on the order Aleksandr Rotko and in the
3 7 Sknowledge of Olga Kotova unlawfully, i.e., without the permission of the Ministry of Justice,
'». the representative of the Republic of Estonia, in the territory located at Kiiti 17 and 17a,
> Tallinn, removed railroad rails belonging to the Republic of Estonia with total weight of 66.6
tons. On 26.07.2006, Olga Kotova and Aleksandr Rotko sold the unlawfully removed rails
‘under the name of AS BPV to AS Kuusakoski in the amount of 204,328,8 kroons, by which
they used the movable property of another in their illegal possession, 1.e., railroad rails
belonging to the Republic of Estonia, unlawfully to the benefit of a third party. From the sale
of railway rails, AS BPV received revenue of 204,328.80 kroons.

 
 
  
   
  

Aleksandr Rotko is also suspected of committing an offense qualified under the Penal Code §
201 subsection 2 clause 4, which consisted in him being the Supervisory Board Member of
OU Agrin Partion, AS Verest, AS BPV and the Board Member of Ela Toll AS, jointly and in
coordination with Olga Kotova who is the Board Member of OU Agin Partion, AS Verest, AS
BPV and the Supervisory Board Member of Ela Toll AS, arranged from 07.06.2006 to
01.08.2006 unlawfully, i¢., without the permission of the Ministry of Justice, the
representative of the Republic of Estonia, in the territory of Tallinn, Kiiti 17 and 17a, over
Which they performed unlawful possession 2000 to 01.08.2006, and removal of the boiler
from the boiler house (weighing up to 6.4 tons with a minimum value of 13,120 kroons) and
“mbezzled it, removed it from the territory and out of the area for use and disposal.

By the activity described above, Olga Kotova and Aleksandr Rotko caused the Republic of
Stonia property damage totaling 217,448 kroons.

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Ms Aleksandr Rotko's group has committed using the movable property of anol,
SSession for their own benefit and for the benefit of the third person, i.e., cri

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Malified under PC § 201 subsection 2 clause 4. : ze / ay SK

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eee anslator is aware of the criminal responsibility as per sections 318 and 321 af the Pendbsede fara?

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Aleksandr Rotko immediately began to avoid criminal proceedings. It has been discovered
that A. Rotko transferred the apartment owned by him at the address Laime 12-7, Tallinn,
fstonia and has not lived in his former place of residence at the address Kungla 4-44,
Rakvere, Estonia since the fall of 2006. Witness Olga Novoseltseva gave testimony that she
has informed Aleksandr Rotko of the pending criminal proceedings against him. The witness
Novoseltseva also gave testimony that since the fall 2006, Rotko and Kotova are located
outside of Estonia. As Aleksandr Rotko is declared a fugitive, a surveillance file No
0723000349 has been opened on him. The surveillance activities performed in this framework
have established the current location of Aleksandr Rotko as being in the United States of
i America, West Virginia State, town of Huntington. ‘

 

a On 25.08.2007, Harju County Court issued a Ruling No. 06730000427 to arrest the fugitive
‘a suspect Aleksandr Rotko (personal identification number 34902270228) who is suspected of
'— committing offenses under Penal Code § 201 subsection 2 clause 4 and § 203. A certified

copy of the document is attached to this application as Annex 1.

© On 29.08.2007, Northern District Prosecutor's Office issued an European arrest warrant on the
7 suspect, Aleksandr Rotko,

- Both arrest warrants are in force and valid.

~The minutes of the hearing of the witness Olga Novoseltseva, Valdo Seiler, Tiit Einberg, Olga
i Savitskaja, Aleksei Bassenkov and Ténu Rinaldi, translated into English, as the evidences in
a F proof of the suspicion of A, Ratko, are attached to this application.

The documents are formalized as Annex 2.

7 lll RELEVANT PROVISIONS OF CRIMINAL LAW

Following is a description of the relevant sections of the Penal Code of the Republic of
Estonia, according to which the act committed by A. Rotko is treated as a crime. Both of these
Sections (PC § 201 subsection 2 clause 4 and § 203) were valid both at the time of the crime,
as Well as today.

Penal Code § 201 subsection 2 clause 4 provides that illegally converting into his or her use or
the use of a third person movable property which is in the possession of another person or
other assets belonging to another person which have been entrusted to the person, by a group
°F a criminal organization is punishable by a pecuniary punishment or up to 5 years’
'Mprisonment,

 

 

P ‘ 55% : . eh he

“nal Code § 203 provides that injuring or destroying a thing of another, if significant damage
‘thereby caused, is punishable by a pecuniary punishment or up to 5 years’ imprisonment.
ie Penal Code § 201 subsection 2 clause 4 and § 203 are crimes of the second degree. their

pation period under the Code of Criminal Procedure § 81 subseetion | clause 2 is i no
0 5 Sgn - 4 sai ‘ = nia A i ey

3 M committing of the crime, Pursuant to CCP § 81 subsection 7 clause 1, limitation OE OR
: »€ Stop on avoidance of pre-trial proceedings by the suspect until the person is Pees A
t es 4 : = : fe ; . =f OM and
“Ppears to the bedy conducting the proceedings. Subsection 8 of the Code of @ignn, as | 5 I

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Anna Yastrebova. Ss)

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procedure § 81 provides that in the case provided in § 81 subsection 7 clause 1 of the same
Act, the limitation period is not resumed if 15 years have passed from committing the crime.
since in this case A. Rotko started to avoid criminal proceedings the latest by December,
3006, when the sumimons were wished to be served to him, the limitation period has stopped
as of that moment. Rotko has until this day not been detained, nor has he voluntarily appeared
to the body conducting the proceedings.

IV DESCRIPTION OF THE FUGITIVE

Attached to the statement is a photo of A. Rotko as Annex 3. The photo was taken on
19.04.2005 for issuance of the Estonian ID card. :

The identification data of the fugitive Aleksandr Rotko is as follows.
Name: Aleksandr Rotko

Alias : not known

Date of birth: — 27.02.1949

Place of birth: | Ukraine

Passport No: __ the last passport No. K2015608 issued by the Republic of Estonia, is now
invalid. The passport was valid during the period 25.03.2002 - 25.03.2012.

ID card No: A1150472, issued on 19.04.2005 by the Republic of Estonia.
Validity period 19.04.2005 - 19.04.2015

Citizenship: Citizen of the Republic of Estonia
Mother’s name: Olga Rotko (DOB 09.07.1924), maiden name not known
Fathers’s name: Mihhail Rotko (DOB 21.05.1921)

Native language: Russian

  

Gender: male

Race: Caucasian

Hair: dark

Eye color: is not known

Height: is not known

Weight: is not known

Translated by Anna Yastrebova. EXT-ROTKO-000049 4

he translator is aware of the criminal responsi ility as per sections 318 and 321 af the Peiidl. iH
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Address: to our knowledge, city of Huntington, West Virginia State, USA

V CONCLUSION

| declare that all the above is true to the best of my knowledge. Bearing in mind the above, I
am asking you in the name of the Republic of Estonia to extradite Aleksandr Rotko to the
Republic of Estonia for carrying out criminal proceedings and bringing charges against him
and for his prosecution. '

I have made the best efforts to provide evidence for the extradition request. In case, the
competent authorities of the U.S. shall require any additional information to solve the
application, with all due respect | confirm that I am willing to provide the necessary
additional information before a decision is reached.

Maria Entsik
Senior Prosecutor

Annexes:

1) 25.08.2007 Harju County Court Ruling No 06730000427 for arresting A. Rotko;

2) The minutes of the hearing of the witness Olga Novoseltseva, Valdo Seiler, Tiit Einberg,
Olga Savitskaja, Aleksei Bassenkov and Ténu Rinaldi, translated into English;

3) A photo of A.Rotko.

 

Translated by A Yi ing a “A
y Anna Yastrebova. “A
The translator is aware of the criminal Fasponsien yas per sections 318 and 321 of the Peridh Coit jor ay

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Kriminaalasi nr 06730000427

 

KOHTUMAARUS

e Kohus Harju Maakohus

Miiiruse tegemise aeg jakoht — 25, august 2007. a Tallinn

B aaitnalada number 06730000427

Bs innrdiniskohtwaile Eha Popova

br aotluse esitaja prokurér Maria Sutt-Tehver

Taotlus kahtlustatava Aleksandr Rotko vahistamine

F stungil osalenud isikud

RESOLUTSIOON

 

n. Vahistada tagaotsitavaks kuulutatud kahtlustatav Aleksandr Rotko, ik 34902270228,
» Eesti Vabariigi kodanik, elukoht teadmata, ci t6dta), tema tabamisel.

| a 2. Hiljemalt tilejérgmisel paeval parast Aleksandr Rotko tabamist toimetada kahtlustatav
4) ___ kisitlemiseks eeluurimiskohtuniku juurde.

~ Edasikacbamise kord
: Miiirusele veib KrMS § 136, § 386 ja § 387 lg 1 alusel esitada ktimne paeva jooksul alates
 **€vast, mil isik sai vaidlustatavast kohtuméarusest teada v6i oleks pidanud teada saama,
“Méruskaebuse Tallinna Ringkonnakohtule Tallinna Linnakohtu kaudu.

Vahistamistaotluse Jabivaatamisel eeluurimiskohtunik tuvastas:

Shja Politseiprefektuuri majanduskuritegude. talitus menetleb kaesolevat kriminaalasja,

wiles Pohja Ringkonnaprokuratuur alustas 22.09.2006 kriminaalmenetlust KarS § 203

. lustel selle kohta, et Eesti Vabariigile kuuluva Kiiti 17 ja Kiiti 17a Tallinnas asuva

| histy valduse iilevotmisel 01.08.2006.a. tuvastati mitmesuguse vara cemaldapyiéie
Vumine, sh kai katteplaatide eemaldamine, raudteerelsside eemaldamine, katla

   

      

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WUstamine ja katelde eemaldamine, puidutééstushoonest katelde eegnaid
~ “lstratiivhoone vee-, sooja- ja elektrivarustuse katkestamine, vesilennukite ay
ak. EXT-ROTKO-000051

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avade luukide eemaldamine, varavate eemaldamine ja lukkude lohkumine. Esialgsel
hinnangul on tekitatud kahju suurus kokku 1 988 260 krooni.

Kriminaalmenetluse kaigus on tuvastatud, et tilalviidatud vara rikkumise, eemaldamise ja
miiiigi korraldasid territooriumi endise valdaja AS BPV juhatuse liige Olga Kotova ja selle
tegevjuht ja noukogu liige Aleksandr Rotko.

Eeltoodu alusel kahtlustatakse Aleksandr Rotkod (ik 34902270228, elukoht teadmata) KarS §
203 jargi kvalifitseeritava kuriteo toimepanemises, mis seisnes selles, et tema, olles OU Agrin
Partion, AS Verest, AS BPV ndukogu liige ja Ela Tolli AS juhatuse liige, tihiselt ja
kooskélastatult Olga Kotova’ga kes on OU Agrin Partion, AS Verest, AS BPV juhatuse liige
ning Ela Tolli AS néukogu liige, ajavahemikul 07.06.2006.a kuni 01.08.2006.a rikkusid ja
havitasid tahtlikult Eesti-Vabariigi omandis olevaid ehitisi ja rajatisi asukohaga Kiiti 17 ja
17.a, Tallinn, millega tekitasid Eesti Vabariigile olulist kahju. Nimelt eemaldati Tallinn, Kiiti
17 ja 17a asuvalt kinnistul asuvalt sadamakailt ilma omaniku Eesti Wabariigi esindaja
Justiitsministeeriumi loata Aleksandr Rotko korraldusel ja Olga Kotova teadmisel sadamakai
olulised osad — teckatteplaadid suuruses 0,14x 2,00x 6,00 kokku 460 tk, katteplaate suuruses
0,13x1,23x1,6 kokku 164 tk ning katteplaate suuruses 0,13x1,23x 0,94 kokku 35 tk, tekitades
Eesti Vabariigile kahju plaatide maksumuse ulatuses, s.o. 1 755 096,60 krooni suuruses
summias.

Samuti kahtlustatakse Aleksandr Rotko’d KarS § 203 jargi kvalifitseeritava kuriteo
toimepanemises, mis seisnes selles, et tema, olles OU Agrin Partioh, AS Verest, AS BPV
ndukogu liige ja Ela Tolli AS juhatuse liige, tihiselt ja koosk6lastatult Olga Kotova’ga kes on
OU Agrin Partion, AS Verest, AS BPV juhatuse liige ning Ela Tolli AS noukogu liige,
ajavahemikul 07.06.2006.a kuni 01.08.2006.a rikkus ja havitas tahtlikult Eesti Vabariigi
omandis olevaid ehitisi ja rajatisi asukohaga Kuti 17 ja 17.a, Tallinn, millega tekitasid Eesti
Vabariigile olulist kahju. Nimelt cemaldati Tallinn, Kiiti 17 ja 17a asuvalt kinnistult ilma
omaniku Eesti Vabariigi esindaja Justiitsministeeriumi loata Aleksandr Rotko korraldusel ja
Olga Kotova teadmisel kinnistu territooriumi varavad ja ldhuti need, millega tekitati Eesti
Vabariigile kahju kokku 33 040.- krooni ulatuses.

Kokku pohjustasid Aleksandr Rotko ja Olga Kotova Eesti Vabariigile varalise kahju summas
1 788 136,60 krooni.

Seega on Aleksandr Rotko toime pannud vG6ra asja rikkumised ja havitamised, millega on
tekitanud asja omanikule Eesti Vabariigile olulise kahju, s.o. kuriteod mis on
kvalifitseeritavad KarS § 203 jargi.

Samuti kahtlustatakse Aleksandr Rotko’d KarS 201 lg 2 p 4 jargi kvalifitseeritava kuriteo
toimepanemises. Nimelt tema, olles OU Agrin Partion, AS Verest, AS BPV néukogu liige ja
Ela Tolli AS juhatuse liige, tihiselt ja kooskélastatult Olga Kotova’ga kes on OU Agrin
Partion, AS Verest, AS BPV juhatuse liige ning Ela Tolli AS néukogu liige, teostasid alates
2000.a aastast kuni 01.08.2006 ebaseaduslikku valdust Eesti Vabariigile kuuluval
territooriumil Ktiti 17 ja 17a Tallinn. Ajavahemikul 07.06.2006 kuni 01.08.2006 cemaldati
Aleksandr Rotko korraldusel ja Olga Kotova teadmisel ebaseaduslikult, st ima omaniku Eesti
Vabariigi esindaja Justiitsministeeriumi loata, Kiiti 17 ja 17a, Tallinn asuvalt territooriumilt
Eesti Vabariigile kuulunud raudteerelsid kokku kaaluga 66,6 tonni. Olga Kotova ja Aleksandr
Rotko miiiisid 26.07.2006a ebaseaduslikult eemaldatud relsid AS BPV nimelt AS

Kuusakoskile summas 204 328,8 krooni, millega pddrasid nende ebaseaduslikus valduses

 

 

 
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jeva voora vallasasja, s.o Eesti Vabariigile kuulunud raudteerelsid, ebaseaduslikult kolmanda
vile kasuks. Raudtee relsside miitigist sai AS BPV tulu 204 328,8 krooni.

»  gamuti kahtlustatakse Aleksandr Rotko’d KarS 201 Ig 2 p 4 jargi kvalifitseeritava kuriteo
cs ¢oimepanemises, mis seisnes selles, et tema, olles OU Agrin Partion, AS Verest, AS BPV
: noukogu liige ja Ela Tolli AS juhatuse liige, iihiselt ja kooskGlastatult Olga Kotova’ga kes on
> oti Agrin Partion, AS Verest, AS BPV juhatuse liige ning Ela Tolli AS noukogu lige,
© ,orraldasid ajavahemikul 07.06.2006.a kuni 01.08.2006.a ebaseaduslikult, st ilma omaniku.
- Festi Vabariigi esindaja Justiitsministeeriumi loata, territooriumilt: Tallinn, Kiiti 17 ja 17a,
mille tile teostasid alates aastast 2000 kuni 01.08.2006.a ebaseaduslikku valdust, katlamajast
katla (kaaluga kumi 6,4 tonni ning maksumusega vahemalt 13 120 krooni) eemaldamise ja
~mastasid selle, toimetades selle territooriumilt minema ning omaniku kasutus- ja késutusalast
ps valja-

) Relkirjeldatud tegevusega tekitasid Olga Kotova ja Aleksandr Rotko Eesti Vabariigile varalise
ahju kokku summas 217 448 krooni.

Seega on Aleksandr Rotko grupi poolt toime pannud enda valduses oleva védra vallasasja
énda ja kolmanda isiku kasuks p66ramised, s.o kuriteod, mis on kvalifitseeritavad KarS §

201 lg 2p4 jargi.

‘Nimetatud kahtlustusi kinnitavad kriminaalasja materjalide hulgas olevad tunnistajate
“itlused, AS-st Kuusakoski ning AS-st Paldiski Sadamatest saadud ‘vastused, driregistri
dokumendid ning teised kriminaalasja materjalid.

‘Aleksandr Rotko varem kriminaalkorras karistatud ei ole.
Prokurér taotleb luba kahtlustatava vahistamiseks. Menetluse kdigus on ilmnenud, et
Aleksandr Rotko hoiab kriminaalmenetlusest k6rvale ning varjab enda asukohta.
9.12.2006.a saatis uurija tahitud kirjaga kutse Aleksandr Rotko abikaasale Olga Kotovale
‘Korraldusega ilmuda 28.12.2006.a Pohja Politseiprefektuuri kahtlustatavana tilekuulamiseks.
a Kutse tagastati 22.01.2007.a méarkega: ei asu antud aadressil. Peale seda teostati
Wr ) Jélitusitlesande kdigus kontrollkaik Aleksandr Rotko ja Olga Kotova viimasesse teadaolevasse
a _ Slukohta, aadressil Kungla 4 44, Rakvere, kust saadi vastuseks, et Aleksandr Rotko ja Olga

~ Kotova nimetatud aadressil ei ela.
a Kuna kriminaalmenetluse kdigus on kindlaks tehtud, et Aleksandr Rotko on vdérandanud
ie tndale kuuluva korteri aadressil Léime 12-7, Tallinn ning oma Eestis olevas elukohas
= “adressil Kungla 4-44, Rakvere Aleksandr Rotko enam ei ela, ei ole olnud véimalik talle
> katset Valjastada ning puudub véimalus kindlaks teha Aleksandr Rotko asukoht, ja Aleksandr
“~ “otko on kuulutatud tagaotsitavaks.

¥ of, tlustoimingute kaigus on selgunud, et Aleksandr Rotko ja Olga Kotova on peale kuriteo
. Mepanemist miiiinud maha enda Eestis asuva vara ning Eestist lahkunud. Tunnistajana tile
q aeatud Olga Novoseltseva on oma fitlustes tunnistanud, et Aleksandr Rotko ja Olga Kotova
1. “vad tema teada valjaspool Eesti Vabariiki (ttpne asukoha riik teadmata) ning A. Rotko ja
i 2 aane on temaga vajadusel tihendust vétnud telefonitsi alates 2006.a. siigisest.

Bi 2006.a vdrandas Olga Kotova Olga Novoseltsevale endale kuuluva sdiduau 2
. le i 61ZB. Olga Novoseltseva iitluste kohaselt oli vOGrandamistehing niilik t
p i, -eSindrgiga muuta auto tegelik véGrandamine neile lihtsamaks, kuna Olga

7 Vib ¢
2 bib Eestis, Miitigist saadud raha pidi ta tile andma Aleksandr Rotkole.

§ EXT-ROTKO-000053

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Uurimisasutus ja prokuratuur, saades sdiduki mitiimise plaanidest teada, esitasid Harju
Maakohtule vara arestimise taotluse, ‘mille alusel Harju Maakohus 22.02.2007.a vara
tsiviilhagi tagamiseks arestis. Kohtumaarusest sai Olga Novoseltseva teada uurijalt samal
paeval so. 22.02.2007.a, mille kohta temalt vdeti madrusele allkiri.

09.03.2007.a saatis uurija Olga Novoseltseva palvel temale koopia Harju Maakohtu
Kohtuméirusest vara arestimise kohta. 14.miirtsil esitas Olga Novoseltseva Tallinna
Ringkonnakohtule méaaruskaebuse vara arestimise midruse peale, pdhjendades, et
méaruskaebuse esitamise tahtaja lasi ta médda seet6ttu, et ei saanud varem kohtuméaarusest
teadlikuks. O. Novoseltseva vaide selle kohta on kohtumaarusel oleva tema allkirjaga timber
liikatud. O. Novoseltseva oma 19.04.2007.a iilekuulamise protokollis tunnistab, et tema ise ei
ole maaruskaebuse koostajaks, vaid on selle ainult allkirjastanud.

Kuigi O. Novoseltseva tunnistajana iilekuulamise protokollis vaitis, et tema ei tea, kelle poolt
on nimetatud maaruskaebus koostatud ja et tema ei ole Olga Kotova ega Aleksandr Rotkoga
sel teemal raakinud, siis vestluses jalitustéétajaga titles ta politseivaneminspektor Arseni
Vassiljevile, et parast sdiduauto aresti (tapselt kuupieva ei mileta) helistas tema lauatelefonile
Aleksandr Rotko, kes karjus tema peale ja titles, et auto arestimisega seotud dokumendid peab
Olga andma teisele inimesele, kes tuleb nende jargi léhiajal. Hiljem tema clukohta tuli
keskealine vene keelt kénelev meesterahvas, kes vottis dokumendid. Hiljem oma postkastist
avastas Olga Novoseltseva juba triikitud kaebuse. Nimetatud vestluse kohta on
politseivaneminspektor Arseni Vassiljev 12.07.2007 koostanud ja oma allkirjaga kinnitanud
diendi.

Prokuratuur on seisukohal, et Arseni Vassiljevi poolt edastatud teavet tuleb pidada
usaldusvairsemaks kui O. Novoseltseva poolt ametlikult antud fitlusi. O. Novoseltseva poolt
ametlikult tunnistajana antud iitlused on ebambistlikud ja ebaveenvad ega seleta vahimalgi
miiral toimunut. Hinnates stindmusi tervikuna, on ainus voimalik loogiline jareldus, et vara
arestimise méiruse vaidlustasid O. Kotova ja A. Rotko — ainsad vaidlustamisest huvitatud
isikud.

Lisaks eeltoodule téendab A. Rotko ja O. Kotova teadlikkust kriminaalmenetlusest asjaolu, et
nende tagaotsimisest on alates 18.01.2007 teadlikud ka O. Kotova ema NadeZda Kreemann,
tema vend Rauno Kreemann ja tema vend Aleksandr Kotov, kellele on korduvalt palutud
edasi delda, et Olga Kotova votaks tthendust politseiga. Olga Kotova ja Aleksandr Rotko
soovi hoiduda aga politseist cemale kinnitab see, et alates 15.01.2007 on jiilitustéétaja Arseni
Vassiljev korduvalt helistanud Olga Kotova telefoninumbrile 56 492 932, kuid positiivset
vastust ei ole saanud. 12.02.2007 véttis toru tundmatu vene keelt kénelev meesterahvas, kes
kuuldes, et A. Vassiljev helistab politscist ja tahab raakida O. Kotovaga katkestas k6ne ja
hiljem pole telefoni vastu votnud.

Kéige eeltoodu kogumis hindamisega on toendamist leidnud, et Aleksandr Rotko ja Olga
Kotova on teadlikud nende suhtes menetletavast kriminaalasjast ning hoiavad
kriminaalmenetlusest tahtlikult kérvale.

Sellest lahtuvalt on 20.02.2007.a koostatud Aleksandr Rotko tagaotsitavaks kuulutamise
maarus. KrMS § 140 lg 3 satestab, et kahtlustatava tagaotsitavaks kuulutamise korral
edastatakse politseiprefektuurile koos tagaotsitavaks kuulutamise mdarusega ka
vahistamisméarus.Arvesse vottes, et Aleksandr Rotko hoidub kérvale kriminaalmenetlusest,
peab prokuratuur vajalikuks kohaldada tema suhtes tokendit vahistamine.

 

Kohus, ara kuulanud prokur6ri selgitused taotluse juurde ning kontrollinud esitatud materjale,
leiab, et esitatud taotlus on pohjendatud ning juhindudes KrMS §dest 21; 24 lg 4; 130; 131;
132 ja PS § 20 asub eeluurimiskohtunik seisukohale, et Aleksandr Rotko tuleb vahistada.
Kriminaalasja materjalidest ndhtuvalt on A. Rotko teadlik kriminaalmenetlusest, kuid
vaatamata sellele on ta realiseerjnud ama Festis asuva vara ning ilmselt Eesti Vabariigist

 
  
   
  
  
   
  

 

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S yunud. Kriminaalasjas on kogutud kiillaldaselt faktilist materjali, mille pdhjal on alust
}? eda kahtlustus pohjendatuks. A. Rotko ei ole reageerinud kutsetele ning on jatnud
ve juval ilmumata menetleja juurde. Taolised asjaolud annavad aluse eeldada, et
qahtustatav voib edaspidigi vabaduses viibides jatkata kriminaalmenetlusest kérvale
a dumist. Seetéttu asub kohus seisukohale, et on kiillaldane alus tagaotsitava kahtlustatava
PP otko vahistamiseks,

  

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Criminal case No 06730000427

COURT RULING

Harju County Court

court

The time and place of making the ruling 25 August 2007 Tallinn

Number of criminal case 0673 0000427

preliminary investigation Judge Eha Popova

pody submitting the application Sidweuiterivatta Sutt-Tehver
Application The arrest of the suspect Aleksandr Rotko

Persons participating in the hearing

RESOLUTION

4 To arrest a fugitive suspect Aleksandr Rotko, (personal identification number
34902270228 Estonian citizenship, residence unknown, does not work), on his
apprehension

2, No later than the second day after apprehension of Aleksandr Rotko to take the
suspect for questioning to the preliminary investigation judge.

Appeals procedure
Appeal against court ruling can be filed under CCP § 136, § 386 and § 387 section 1 to the

District Court of Tallinn through Tallinn City Court within ten days of the date on which the
Person became aware or should have become aware of the challenged court ruling:

 

The preliminary investigation judge found out on hearing of the application of arrest:
The Economic Crime Division of the North Police Prefecture handles this criminal case in
Which on 22.09.2006, Northern District Prosecutor's Office launched criminal proceedings
Under the attributes of PC § 203 regarding the fact that on the assumption of the possession
of the registered immovable property belonging to the Republic of Estonia and located at Kuti
and Kuti 17a in Tallinn on 01,08.2006 was detected removal of various assets, including
the femoval of berth cover plates, removal of railroad rails, damage to the building of the
Doiler house and removal of the boilers, removal of the boilers from the building of tipnksss
‘Ndustry, interruption of water, heat and electricity supply in the administration fie ag NA PES
‘€Moval of the hatches ‘of the opening of the seaplane hangar dome, removal of tfi¢zategess ="
a destruction of the locks. Preliminary estimates of the amount of damage cau§ed, | 3
of 1,988,260 kroons.

 

       
  
    
  

 

 

 

 

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Dj nner Ne warned in accordance with sections 318 and 321 of the Penal Code, and subsection 54 (1) of ae |
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yal proceedings have identified that the damage, removal and sale of the property
red to above was organized by the Board Member of the former holder of the territory
oe BPV Olga Kotova and its chief executive officer and the Supervisory Board Member

aleksandr Ratko.

ad on the above Aleksandr Rotko (personal identification number 34902270228,
ence unknown) is suspected of committing an offense qualified under the PC § 203,
, consisted in his the being the Supervisory Board Member of OU Agrin Parion, AS
verest, AS BPV and the Board Member of Ela Toll AS, fointly and in coordination with Olga
Kotova who is the Board Member of OU Agin Partion, AS Verest, AS BPV and the
supervisory Board Member of Ela Toll AS, from 07.06.2006 to 01.08.2006 destroyed and
damaged intentionally the buildings and facilities in the possession of the Republic of Estonia
located in Kuti 17 and 17a, Tallinn, by which they caused significant damage to the Republic
of Estonia. Namely without the permission of the Ministry of Justice, the representative of the
owner, the Republic of Estonia, important parts of the berth - road surface plates in size 0.14
x 2.00 x 6.00, in total 460 pieces, cover plates in size 0.13x1,23x1,6, the total of 164 pieces
and cover plates in size 0.13x1,23x 0.94, in total 35 pieces - were removed on the order of
Aleksandr Rotko and in the knowledge of Olga Kotova in the registered immovable in Tallinn,
Kiiti 17 and 17a, creating a damage to the Republic of Estonia to the extent of the cost of the
plates, i.e, in the amount of 1,755,096.60 kroons.

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Aleksandr Rotko is also suspected of committing an offense qualified under the PC § 203,
which consisted in his being the Supervisory Board Member of OU Agrin Partion, AS Verest,
AS BPV and the Board Member of Ela Toll AS, jointly and in coordination with Olga Kotova
who is the Board Member of OU Agin Partion, AS Verest, AS BPV and the Supervisory
Board Member of Ela Toll AS, from 07.06.2006 to 01.08.2006 destroyed and damaged
intentionally the buildings and facilities in the possession of the Republic of Estonia located in
Kuti 17 and 17a, Tallinn, by which they caused significant damage to the Republic of Estonia.
Namely without the permission of tne Ministry of Justice, the representative of the owner, the
Republic of Estonia, gates were removed on the order of Aleksandr Rotko and in the
knowledge of Olga Kotova in the registered immovable in Tallinn, Kuti 17 and 17a, and were
Saelineyes, creating a damage to the Republic of Estonia in the total amount of 33,040 -
roons,

In total, Aleksandr Rotko and Olga Kotova, caused property damage to the Republic of
Estonia in the amount of 1,788,136.60 kroons.

Thus Aleksandr Rotko has committed damaging and destruction of a thing of another, by
which he has caused significant damage to the owner, the Republic of Estonia, i.e., he has
Committed crimes qualified under PC § 203

Aleksandr Rotko is also suspected of committing offense qualified under PC § 201

Subsection 2 clause 4, namely him being the Supervisory Board Member of OU Agrin

Partion, AS Verest, AS BPV and the Board Member of Ela Toll AS, jointly and in coordination

With Olga Kotova who is the Board Member of OU Agin Partion, AS Verest, AS BPV and the

Supervisory Board Member of Ela Toll AS, carried out from 2000 until 01.08.2006 unlawful
Dssession in the territory at Kuti 17 and 17a, Tallinn, belonging to the Republic of Estonig Soe
Uring the period 07.06.2006 to 01.08.2006 on the order Aleksandr Rotko and ing

Nowledge of Olga Kotova were unlawfully, i.e., without the permission of the Minig f a

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UStice, the representative of the Republic of Estonia, in the territory located at Kuti vp
= Tallinn, removed railroad rails belonging to the Republic of Estonia with total wae : a
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ee UBlic Information Act FYstet=

 

     
  
   
   

 

 

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1 fons. ON 26.07.2006, Olga Kotova and Aleksandr Rotko sold the unlawfully removed
66.5 ynder the name of AS BPV to AS Kuusakoski in the amount of 204,328.80 kroons, by
fal they converted the movable property of another in their illegal possession, i.e., railroad
wh?’ elonging to the Republic of Estonia, unlawfully to the use of a third party. From the sale

rae rails, AS BPV received revenue 204,328.80 kroons
b

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>| aksandr Rotko is also suspected of committing an offense qualified under the Penal Code
ES is subsection 2 clause 4, which consisted in him being the Supervisory Board Member of
Oe Agrin Partion, AS Verest, AS BPV and the Board Member of Ela Toll AS, jointly and in
FP pordination with Olga Kotova who is the Board Member of OU Agin Partion, AS Verest, AS

PV and the Supervisory Board Member of Ela Toll AS, arranged from 07.06.2006 to
Ai 93.2006 unlawfully, ie. without the permission of the Ministry of Justice, the
a “resentative of the Republic of Estonia, in the territory of Tallinn, Kuti 17 and 17a, over
Mhich they performed unlawful possession 2000 to 01.08.2006, removal of the boiler from
2 boiler house (weighing up to 6.4 tons and a minimum value of 13,120 kroons) ;and
E bezzied it, removed it from the territory and out of the area of use and disposal of the

owner.

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Ry the activity described above, Olga Kotova and Aleksandr Rotko caused the Republic of
onia property damage totaling 217,448 kroons

Thus, Aleksandr Rotko's group has committed conversion of the movable property of another
inrtheir possession to their own use and to the use of a third person, i.e., crimes that are
qualified under PC § 201 subsection 2 clause 4.

iI ese suspicions are confirmed by the witness statements included in the material of the
criminal case, responses received from AS Kuusakoski and AS Paldiski Sadamad,
documents of the commercial registry and other materials of the criminal case.

Aleksandr Rotko does not have a criminal record.

Frosecutor seeks permission to arrest the suspect. During the proceedings, it appears that
Aleksandr Rotko is avoiding the crimina| proceedings and hiding his location.

(On 19.12.2006, the investigator sent by registered mail an invitation to Aleksandr Rotko's
‘wife Olga Kotova with an order to appear on 28.12.2006 to the North Police Prefecture for
interrogation as a suspect. The invitation was returned on 22.01.2007 with the words: not
slocated at this address. After that, in the course of surveillance tasks, a verification visit was
=>, °@tried out to the last known residence of Aleksandr Rotko and Olga Kotova at the address
~. Kungia 4-44, Rakvere, from where was received the response that Aleksandr Rotko and

Olga Kotova do not live at this address.

S the criminal proceedings have identified that Aleksandr Rotko has transferred the
sal apartment belonging to him at the address Léime 12-7, Tallinn and does no longer live in his
ibe Place of residence in Estonia located at the address Kungla 4-44, Rakvere, it has not been
= Possible to issue an invitation to him and there is no way to identify the location of Aleksandr

eae otko, and Aleksandr Rotko has been declared a fugitive.
Sern Procedural act has revealed that Aleksandr Rotko and Olga Kotova have after
es the crime sold off their assets located in Estonia and. have left Estonia. Olga
roe who was heard as a witness, has admitted in her testimonies that to her
aia €dge, Aleksandr Rotko and Olga Kotova reside outside of Estonia (the exact counts
tel ence unknown), and A. Rotko and O, Kotova have been contacting her if necesé
i, —SPhone since fall 2006.
ff SES

 

   
  
 

 
  
  

    
  

  
 
  

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9.2006, Olga Kotova transferred to Olga Novoseltseva the automobile Acura 61ZB
98.14 , ti
ing 10 her. According to the testimony of Olga Novoseltseva, the transfer transaction
! n ostensible transaction, the objective of which was to make the actual transfer of the
yas 2 sier for them, as Olga Novoseliseva is residing in Estonia. She was supposed to
at var the Money received from the sale to Aleksandr Rotko.
1 et ne westigative body and the Prosecutor's Office, having learned about the plans to sell the
nage oie filed to the Harju County Court a request of seizure of property, pursuant to which on
eo 3007, Harju County Court seized the property to secure the civil action. Olga
Aovoseltseva learned about the ruling of the court from the investigator on the same day,
on 22.02.2007, regarding which, her signature was taken to the ruling.
iF. 09.03.2007, the investigator sent to Olga Novoseltseva on the request of the latter a copy
mi court Ruling of the Harju County Court for seizure of property, On March 14, Olga
Novoseliseva filed an appeal against the court ruling in Tallinn Circuit Court for seizure of
arguing she had failed to meet the deadline to appeal against the court ruling
2 she had not been previously aware of the court ruling. The above claim of
(OiNovoseltseva regarding being unaware of the ruling has been refuted by her signature on
He court ruling. O.Novoseltseva acknowledges in her interrogation report of 19.04.2007 that
ehe herself has not prepared the appeal against the court ruling, but she is only the signatory
thereof.
While O. Novoseltseva stated in her witness statement report that she does not know who
Has prepared the above appeal against the court ruling and that she has not talked to Olga
Kotova and Aleksandr Rotko on this subject, then during the conversation with the
Surveillance employee, she said to the senior police inspector Arseny Vasilyev, that after the
eizure of the car (she does not remember the exact date) Aleksandr Rotko called on her
fandline, yelled al her and said that Olga must give the documents relating to the car seizure
Blo someone else, Olga, who will come to collect them in the nearest future. Later, a middle-
aged Russian-speaking man came to her residence and took the documents. Later Olga
sNovoseltseva discovered in her mailbox the already printed appeal against the court ruling.
FRegarding this interview, police inspector Arseny Vasilyev prepared and signed a statement
Gee on 12.07.2007.
ge The Prosecutor's Office is of the view that the information provided by Arseny Vasiliev to be
we. considered more reliable than the officially provided statements of O. Novoseltseva. The
“= Statements officially provided by O. Novoseltseva as the witness testimony are unreasonable
and implausible and do not explain what happened in the slightest. Assessing the events as
a whole, the only logical conclusion can be that the ruling of seizure of the properly was
Bi wee by ©. Kotova and A. Rotko as the only parties interested in the challenging
ereof,
a In addition to the above, the awareness of A. Rotko and O. Kotova of the criminal
i Proceedings is proved by the fact of their being fugitives as of 18.01.2007 known also to the
mother of O. Kotova, Nadezhda Kreemann, her brother Rauno Kreemann and her brother
Aleksandr Kotov, to who it has been invited to convey on several occasions that Olga Kotova
| Should contact the police. The wish of Olga Kotova and Aleksandr Rotko to avoid the police
‘ Confirmed by the fact that as of 15.01.2007 the surveillance staff Arseny Vasilyev has
eee called Olga Kotova's phone number 56492932, but has not received a positive
Sponse, On 12.02.2007, an unknown Russian speaking man answered the phone, who

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Case CERO ELT SOSA ENIBEN BUS Document 1-2 Filed 11/19/19 Page 17 of 59 Page|lD 66

 

a having heard that A. Vasilyev is calling from the police and wants to talk to O. Kotova, hung
{ a and has not answered the phone since. Re
; ar the assessment of the total of the above, it has been proven that Aleksandr Bak: 40 3, |
| Ga Kotova are aware of the pending criminal case against them and are #ek x PEs i |
; “aiding the criminal proceeding. ee :

Sean Ss en _—— aS; of S f}

S dotudientthas been translated by Unicom Télkebiiroo OU and corresponds to the original text in Estonia. ry of

and subsection 54 2 alt @

  

 
 
 

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he translat © been warned in accordance with sections 318 and 321 of the Penal Coce,
etic Inform Act.

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Piitinns amg wear

   

EXT-ROTKO-000059

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Case 3:19-mc-00027-BJD-JRK Document 1-2 Filed 11/19/19 Page 18 of 59 PagelD 67

”

  
   
    
 
 

to on the above, a ruling of declaration of Aleksandr Rotko a fugitive was prepared on

nase? 007. CCP § 140 section 3, which provides that if a suspect is declared a fugitive, an

0 “warrant shall be sent to the police prefecture together with tne ruling of the declaration

arrest itive. Considering the fact that Aleksandr Rotko is avoiding criminal proceedings, the
$
r

  

| % “ "
otor's Office deems necessary to apply on him a preventive measure of “arrest”,
5

4

p 0
- court, after hearing the prosecutor's explanations accompanying the request, and having
ye wwed the submitted material, considers that the request is reasonable and being guided
12-0P §§ 21, 24 subsection 4, 130, 131, 132 and Constitution § 20, the preliminary
12 PY stigation judge holds that Aleksandr Rotko is to be arrested. The criminal case materials

] ow thal A. Rotko is aware of the criminal proceedings, but in spite of this he has realized
“property located in Estonia and has probably left the Republic of Estonia. In the criminal
e has been gathered enough factual material on which there are grounds to deem the
picion justified. A. Rotko has not responded to summons and has repeatedly failed to
Szppear at the body conducting the proceedings. Such facts provide a basis to assume that
ihe suspect may while remaining at large continue avoiding the criminal proceedings.
Therefore, the court considers that there is sufficient reason to arrest the suspect fugitive A.

Ratko.

    
  
    
  
   

i udge Eha Popova

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Thisa ote . 2 : : ot
U | 'S doctagaas been translated by Unicom Télkebiiroo OU and corresponds to the original text in Estonia.

Mig, The translat been warned in accordance with sections 318 and 321 of the Penal Code, and subsection 54 (1)

Public Informafio}) Act.

Kiiymeertio
. rg) EXT-ROTKO-000060
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POHJA POLITSEIPREFEKTUUR

   

TUNNISTAJA TAIENDAVA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000225

« 90” veebruar 2007a Tallinn

[uurimistoimingu koht]
Uurimistoimingu algus 13.00 /kellaaeg]

Pohja_ Politseiprefektuuri kriminaalosakonna majanduskuritegude  talituse
politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

juhindudes KrMS §-dest 68, 74 ja 146 kuulas tile tunnistaja:
1.Tunnistaja Olga Novoseltseva isikuandmed lisatud timbrikus protokolli juurde

Tunnistaja digused ja kohustused:

Tunnistaja on kohustatud andma tdeseid Utlusi, kui dtluste andmisest keeldumiseks puudub seaduslik alus
kuesoleva seadustiku §-de 71-73 jairgi (KrMS § 66 lg 3). Tunnistajale selgitatakse tema digust kirjutada Gtlusi
omakéeliselt (KrMS § 68 Ig 1). Tunnistaja vdib Utlusi andes kasutada arvandmete ning nimede ja muude raskesti
meelespeetavate andmete kohta markmeid ja muid dokumente (KrMS § 68 lg 3). Oigus keelduda tunnistajana
itluste andmisest on kahtlustatava voi siiiidistatava: alanejal ja tilenejal sugulasel; del, pooldel, vennal, poolvennal
voi isikul, kes on voi on olnud abielus kahtlustatava vGi sillidistatava de, poole, venna vdi poolvennaga; vddras-
v6i kasuvanemal, vOdras- voi kasulapsel; lapsendajal ja lapsendatul; abikaasal, piisivas kooselus oleval isikul ja
tema vanemal, sealhulgas parast abielu vdi pilsiva kooselu l6ppemist (KrMS § 71 lg 1). Tunnistaja véib keelduda
titluste andmisest ka siis, kui Gtlused vdivad kuriteo vai vadrteo toimepanemises sililstada teda ennast voi
kéesoleva paragrahvi ldikes 1 loetletud isikuid (KrMS § 71 lg 2). Oigus tunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta iitluste andmisest on: Eestis registreeritud usuorganisatsiooni vaimulikul; kaitsjal
Ja notaril, kui seaduses ei ole s&testatud teisiti; tervishoiutGétajal ja farmatseudil isiku pritolusse, kunstlikku
viljastamisse, perekonnasse voi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti-
voi kutsesaladuse hoidmise kohustus (KrMS § 72 lg 1). Tunnistajal on digus keelduda iitluste andmisest nende
asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 lg 1).

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et _ iitluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale iitluse andmise eest jargneb
vastutus KarS §-de 318 ja 320 jirgi.

(tunnistaja allkiri)

  
 

 

 

3.Uurimistoimingus osaleb tlk: .............. AME. ta
(nimi ja kontaktaadress], keda on hoiatatud, et oma iilesannete tditmisest alusetu
keeldumise ja teadvalt-valesti tolkimise eest vastutab ta KarS §-de 318 ja 321 jargi.

(tolgi allkiri)

“OOPIAC

 

EXT-ROTKO-000062

 

 

 
 

 

 

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4, Utlused:

Millal ning kelle kaest Te ostsite endale s/a Acura Trooper SLX reg nr 61ZGB?

Ostnud ma endale seda autot ei ole, Olga Kotova lihtsalt kirjutas selle auto minu
nimele.

Mis eesmiargil auto Teie nimele vormistati?

Olga Kotova helistas mulle, ma arvan, et see vGis olla pdev, enne seda kui see auto
minu nimele vormistati ARK-is so. Siis 27.12.2006.a, kuid piiris kindle] ma enam
ei ole. Ei maleta kas Olga Kotova helistas mulle mobiile vdi siis kodusele
telefonile. Kuid ta helistas, siis kiisis, kas ma olen ndus, et auto kirjutatakse minu
nimele ja ma miliin selle auto edasi. Ma olin néus sellega.

Mis Olga Kotova téi pGhjuseks, et see auto on vaja Teie nimele kirjutada edasi
miiiigi eesmargil?

Olga Kotova t6i pohjuseks selle, et kuna ta Tallinnas ei viibi, siis ei ole tal
voimalik auto miiligiga tegeleda ning seet6ttu palus ta mul selle auto enda nimele
kirjutada.

Ma olin koheselt sellega nous ning kas jargmine v6i tilejirgmine pave me
liksimme ja vormistasime selle ARK-is minu nimele timber. Saime temaga
kokku minu maja laheduses olevas bussi peatuses, kuhu Olga Kotova oli juba
tulnud. Olga Kotova helistas ja tellis takso ja me sditsime ARK-i, Minu meelest
oli see kusagil Musiamiel. Ise ma sinna minna ci oskaks. Kdigepealt laksime
sinna ARK-i kGrval olevasse parklasse, kus see auto seisis. Kéigepealt me
vormistasime seal mingid paberid. Mis paberitele ma seal alla kirjutasin, ma
tapselt ei tea, kuna kik toimus eesti keeles. Ma sain aru, et see auto kuulus enne
Olga Kotovale ning see auto oli seal enne juba miiiigis. Parast laksime ARK-i ja
vormistasime mingid paberid, mis paberid me seal vormistasime tapselt ei tea,
tean et see auto vormistati minu nimele. Parast ARK-I laéksime uuesti sinna
miitigiplatsile, kus mulle anti see leping, mille ma uurijale edasi annan. Seejirel
sditsime taksoga linna. Olga Kotova lihtsalt titles mulle, et kui auto miitigi eest
raha laekub, siis Aleksandr Rotko annab mulle telefoni teel teada, kuhu raha
kanda,

Juhul kui auto miiiiakse maha. Kuidas ning kellele te sellest teatate, et saaksite
miitigist laekunud raha tile kanda?

Teatan sellest Aleksandr Rotkole, siis kui ta mulle ise helistab. Minul endal ei ole
tihtegi Olga Kotova ja Aleksandr Rotko telefoninumbrit. Tapsustan, mul on Olga
Kotova mobiili number 56492932. Seda, millal ma talle ise oleks helistanud, ei
tea.

Mis pdhjusel Aleksandr Rotko helistab ainult laua telefoni?
Ei osaka delda, see on vist soodsam

Kas Te teate praegusel hetkel teate Aleksandr Rotko ja Olga Kotova asukoht

Tapselt ei tea, aga vist Rotko on Ameerikas. Kus Olga Kotova asub ei t
mileta, kas kohtasin teda viimati postkontoris peale auto tehingut véi
igaljuhul jah, need olid kaks viimast kohtumist temaga. Telefoni teel ei ole®

temaga suhelnud pe ‘
g peale seda EXT-ROTKO-000063

  
 

 

 

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Mis pdhjusel Te Olga Kotovale ei helista, kui auto on maha miitidud?

Ma ei née pohjust miks ma peaks helistama Olga Kotovale, kuna see auto on ju
tegelikult kuulunud kogu aeg Aleksandr Rotkole. Ma sain sellest aru nii, et kui
Aleksandr Rotko siit lahkus Ameerikasse, siis vormistas ta selle auto umber Olga
Kotova nimele, et tema tegeleks miitigiga ning niitid kui Olga Kotoval ei ole aega
selle auto miiiigiga tegeleda, siis palus ta see auto minu nimele vormistada, et
saaks mina selle auto maha miitia, kui leidub ostja. Seda et nad on abielus ma
tdepoolest kuulsin esimest korda uurija kdest ning seetdttu e1 osanud arvata, et ma
voiks auto miitigist teatada ka Olga Kotovale.

5,Markused protokolli kohta: ... CEM DEO. CHCOUK Clb,
‘ pes ;

eee: U Ctl KGCCEHEL

[mdargitakse mdrkuste sisu voi nende puudumine; protokoll loetud fahi isiklikult voi loetud ette]

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 vdib kohtueelse
menetluse andmeid avaldada iiksnes prokuratuuri loal ja tema maaratud ulatuses.

Uurimistoimingu spp: WO fkelluaee]
Laat Ag

See OOP eee eee ea epee tee sea ffecte vente ee tease eee wee eee

Leja Abts CL Lte4, bd

 

[menetlejaametniku nin] [funnistaja aint

 

EXT-ROTKO-000064

 
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———S * ————————E ‘

  

1)Nimi: Olga Novoseltseva

[ees- ja perekonnanimi]

2)Isikukood v6i stinniaeg: 47203270350

[isikukoodi pundumisel siinniaeg]

3)Kodakondsus: eesti
[eesti, vene jm]

4)Haridus: keskharidus
falg-, pohi-. kesk-, keskeri-, kOrgem haridus]

5)Elu- véi asukoht: Liikuri 36-26, Tallinn

faadress vai jdetakse mdrkimata funnisiaja taotlyusel]

6)Tédkoht véi Sppeasutus: OU Ella Kaubandus

{nimetus voi jéetakse markimata tumistaja taotlusel]

[sidevahendi number vii e-posti aadress]

i 7)Kontaktandmed: tel: 6352096
8)Suhe kannatanu ja kahtlustatavaga: tédandja
[mis laadi suhted an kannatanu ja kahtlustatavaga)

9)Isikusamasus tuvastatud: A0248514
[dokumendi nimetus vs]

 

 

| : EXT-ROTKO-000065
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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000225

09” jaanuar 2004a Tallinn fwurimistoimingu kaht]
Uurimistoimingu algus 10.00 fkellaaeg]

Péhja Politseiprefektuuri kriminaalosakonna majanduskuritegude _talituse
politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

juhindudes KrMS §-dest 68, 74 ja 146 kuulas iile tunnistaja:
1, Tunnistaja Olga Novoseltseva isikuandmed lisatud timbrikus protokolli juurde

Tunnistaja digused ja kohustused:

Tunnistaja on kohustatud andma toeseid iitlusi, kui iitluste andmisest keeldumiseks puudub seaduslik alus
kdesoleva seadustiku §-de 71-73 jérgi (KrMS § 66 Ig 3). Tunnistajale selgitatakse tema Qigust kirjutada Otlusi
omakiieliselt (KrMS § 68 Ig 1). Tunnistaja voib itlusi andes kasutada arvandmete ning nimede ja muude raskesti
meelespeetavate andmete kohta markmeid ja muid dokumente (KrMS § 68 Ig 3). Oigus keelduda tunnistajana
itluste andmisest on kahtlustatava ydi siliddistatava: alanejal ja ilenejal sugulasel; del, pooldel, vennal, poolvennal
voi isikul, kes on voi on olnud abielus kahtlustalava voi stiddistatava Se, poolde, venna voi poolvennaga; vddras-
voi kasuvanemal, vOGras- voi kasulapsel; lapsendajal ja lapsendatul; abikaasal, piisivas kooselus oleval isikul ja
tema vanemal, sealhulgas pdrast abielu vi plisiva kooselu loppemist (KrMS § 71 Ig 1). Tunnistaja voib keelduda
Utluste andmisest ka siis, kui Gtlused vdivad kuriteo vOi valirteo toimepanemises siiistada teda ennast voi
kdesoleva paragrahvi ldikes | loctletud isikuid (KrMS § 71 Ig 2). Oigus lunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta Utluste andmisest on: Eestis registreeritud usuorganisatsiooni vaimulikul; kaitsjal
ja notaril, kui seaduses ei ole sitestatud teisiti; tervishoiutédtajal ja farmatseudil isiku piiritolusse, kunstlikku
viljastamisse, perekonnasse voi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti-
Voi kutsesaladuse hoidmise kohustus (KrMS § 72 lg 1). Tunnistajal on Sigus keelduda titluste andmisest nende
asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 Ig 1).

' 2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et  titluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale titluse andmise eest jiirgneb
vastutus KarS §-de 318 ja 320 jargi.

ff), gh~ (tunnistaja allkiri)

 

AL
3.Uurimistoimingus osaleb tlk: ....... 724A... ee: dednranieearedeeas iets ye
[nimi ja kontaktaadress], keda on hofatatud, et oma ilesdfinete taitmisest alusetu

keeldumise ja teadvalt valesti tolkimise eest vastutab ta KarS §-de 318 ja 321 jargi.

GLAS (tolgi allkiri)

a ind
4. Utlused: KOOPIA Oi

  

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¢ Mis ajavahemikul ja kellena Te t6Gtasite AS BPV ja OU-s Ella Kaubanduse?

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Case 3:19-mc-00027-BJD-JRK Document 1-2 Filed 11/19/19 Page 25 of 59 PagelD 74

 

 

SS

AS BPV t6dtasin ma ajavahemikul 14.marts 2002.a kuni 01.09.2006.a
raamatupidajana ning OU Ella Kaubandus todotan raamatupidajana kuni taénase
aevanl. Algul tegeles Ella Kaubandus drikonsultatsioonidega, alates septembrist
kiiesoleval aastal tegeleb chituskraana rendiga.

. Kes juhtis firma igapaeva tegvust AS-is BPV ja OU-s Ella Kaubanduse?

Nii firmas BPV kui ka Ella Kaubandus juhib igapfevategevust Aleksandr Rotko.
pracgusel hetkel Aleksandr Rotko Eestis ei viibi, ta helistab mulle ainult telefoni
teel. Ta helistab mu kodusel telefonile 6352 096. Viimati helistas ta mulle umbes
kolm paeva tagasi ja palus mul korraldada kraanale tehniline iilevaatus.

» Millised tilesanded olid Olga Kotoval AS BPV?
Olga Kotoval olid sekretari tilesanded.

. Kas Te olite teadlik, et Olga Kotova oli tegelikult AS BPV juhatuse liige,
mitte Aleksandr Rotko?
. Jah, ma olin teadlik, et Olga Kotova on juhatuse liige.

e Kelle korraldusel ja millal eemaldati aadressil Kiiti tn 17 ja Kiiti tn 17.a
lennusadama territooriumilt sadamakai katteplaadid, |Ghuti osaliselt katlamaja
ning eemaldati sealt katel, viidi ara raudteerelsid, katkestati vee- ja
elektrivarustus?

Ei tea, kelle korraldusel. V6in oletada, et selle korralduse andis Aleksandr Rotko,

kuna keegi teine seal korraldusi ei jaganud. Millal need sealt ara, viidi, tapselt ei

tea, kuid see oli vahetult enne seda kui me sealt lahkusime. Seda, millal kes voi
kuhu need viis ma ei tea.

e Kas Te olete teadlik kuhu viidi raudteerelsid, kuhu viidi sadamakai
katteplaadid, kuhu viidi eemaldatud katlamaja?

Kuhu need asjad viidi voi kellele miitidi, ma enam ei mileta. Maletan, et mingi

osa asjadest miiiidi Paldiski Sadamale, aga mis tipselt ja millises summas, seda

enam kiill ei maleta.

e Kellel oli digus kasutada AS BPV arveid.
K@ik, mis puudutas palkasid, tegin mina, iilejaanu osas oli digus Aleksandr
Rotkol.

¢ Kas Te olete teadlik sellest, kas Aleksandr Rotko omab valismaal
mingisuguseid firmasid.

Ei oska delda, tean, et tal olid mingid sidemed vilismaal, aga kus voi kelleg@
tapselt, seda ei tea. Tean, et mingisugune firma kandis AS BPV rahasid De Eee
investeerimise eesmiargil, aga mis firma see oli, seda ei mileta. RON

  
 
 

bet em

ee ry
Ge ee oN
© Kas Te olete teadlik millega tegeleb praegusel hetkel Aleksandr Rotko J 2 ee . J :
Kotova ning kus nad elavad? i (a 3B
Ei tea millega Aleksandr Rotko praegu tegele ega tea, kus ta elab. Samuti et eh _ p
ma éelda, millal ta Eestisse tagasi tuleb. “3339

 

Millega tegeleb praegu Olga Kotava, ei oska delda, Nagin teda viimati jubuslike
Tallinnas peapostkontoris. Minu teada elab ta Rakveres, aga kindel 1 270° *

Tallinnas elades rentis ta korterit. :
EXT-ROTKO-000067 peat j
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; oma: Dpto, Clevecalbetore & hp i.
ee ace CLERL be ebhe MALE IE LO $222 AD

e [méirgitakse markusle sisu voi nende puudumine; protokoll loetud ldbi isiklikult vai loemd ette]

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 voib kohtueelse
menetluse andmeid avaldada tiksnes prokuratuuri loal ja tema maaratud ulatuses.

Uurimistoimingu loppfV “[kellaacg] ide) af aed 2 pte
lhe BET is seaside GGA Lh ees eibeacks f ae (
[tunnistaja nimi]

  
   

[menetlejaametniky nimi]

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Ve AS 4)
EXT-ROTKO-000068 . /
VV. . bE a An
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NORTH POLICE PREFECTURE

MINUTES ON QUESTIONING OF WITNESS
in the criminal matter No. 06730000225

pt January 2007 Tallinn

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime

Department of the North Police Prefecture,
iS) [name and professional status of the official conducting the proceeding]

ai ded by sections 68, 74'and 146 of the Code of Criminal Procedure, questioned as witness:
{) Witness Olga Novoseltseva, personal data enclosed with the minutes in an envelope

The rights and obligations of witness: ‘

AWWitness shall give truthful testimony unless there are lawful grounds specified in sections 71—73 of this Code
efusal to give testimony (section 66 (3)). The rights and obligations of witnesses and the right to write the
mony in hand-writing shall be explained to a witness (section 68 (1)). While giving testimony, a witness may
totes and other documents concerning numerical data, names and other information which is difficult to
Temorise (section 68 (3)). The following persons have the right to refuse to give testimony as witnesses: the
descendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
ed, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
sed; a step or foster parent or a step or. foster child of the suspect or accused; an adoptive parent or an
ted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
ed, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
seclion 71 (1)). A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
Person listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
US or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
be? The following persons have the right to refuse to give testimony as witnesses concerning the circumstances
Ich have become known to them in their professional activities: the ministers of religion of the religious
he panisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care
k a rssionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or
, th of a person; persons on whom the obligation to maintain a professional secret has been imposed by law
. — 72 (1)). A witness has the right to refuse to give testimony concerning circumstances to which the State
Act applies (section 73 (1)).

2p:

Gn ahs and obligations have been explained to witness pursuant to sections 66-73 of the
jus Of Criminal Procedure, A witness of at: least 14 year old has been warned that the
Pune refusal from giving testimony and giving knowingly false testimony are
4 shable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

—__/signature/ (signature of witness) —
: (EEE ;
S Thvestin<s: soos : ae Menon
Maro, Stigative proceeding is attended by interpreter: ..... Galina Magi ..... [name a, Gedy é
f is] Who has been warned of the iabbiholandhe unjustified refusal to perform E

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i Se)

 
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e , yties and for the provision of a knowingly false interpretation pursuant to sections 318, 321

|” ofthe Penal Code.
/signature/ (signature of interpreter)
' 4, Testimony:

e In which time period and on what position did you work in AS BPV and in OU Ella
Kaubanduse?

In AS BPV I worked in the time period from 14" March 2002 until 01.09.2006 as a book-

keeper and in OU Ella Kaubandus I am working as a book-keeper to this day. At first Ella

Kaubandus was engaged in business consulting, starting from September this year it is

engaged in the lease of building crane. ‘

 

e Who directed the regular operation of the company in AS BPV and in OU Ella
Kaubanduse?

In the company BPV as well as in Ella Kaubandus the regular operation is directed by

Aleksandr Rotko, At present Aleksandr Rotko is not staying in Estonia, he only calls me

by phone. He calls me on my home number 6352 096, Last time he called me about three

days ago and asked me to arrange technical inspection of the crane.

 

e What were the duties of Olga Kotova in AS BPV?
Olga Kotova had the duties of a secretary.

e Were you aware, that Olga Kotova was actually a member of management board of
AS BPV, and not Aleksandr Rotko?
Yes, I was aware, that Olga Kotova was a member of management board.

e On whose order and when from the territory of the Seaplane Harbor at the address
Kiiti street 17 and Kiiti street 17a. Tallinn. were removed cover slabs of the dock. was

partially destructed the boiler house and removed from there the kettle, were taken
away railroad tracks, was cut off the water supply and electricity supply?

I do not know, on whose order. I can guess, that such order was given by Aleksandr
Rotko, as no-one else gave orders there. When they were taken away from there, I do not
know exactly, but it was directly before the time we left the place. When, who and where
to took them, I do not know.

 

e Are you aware, where the railroad tracks were taken to, where the cover slabs of the
dock were taken to. where the removed boiler house was taken to?

Where these objects were taken to or to whom they were sold, I do not remember any

more. I remember, that some part of the objects were sold to Port of Paldiski, but what

objects exactly and in what sum, I do not remember any more.

 

e Who was authorized to use the accounts of AS BPV?
Everything concerning salaries was done by me, the remaining issues were in the

competence of Aleksandr Rotko.

e Do you know if Aleksandr Rotko holds any companies abroad?
I cannot tell, I know, that he had some connections abroad, but where or with whom, | d
not know. I know, that some company transferred funds of AS BPV for inve

purposes, but which company it was, I do not remember. | =
i

 

EXT-ROTKO-000070

  
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Do you know, what are Aleksandr Rotko and Olga Kotova engaged in at present and

where do they live?

{ do not know what is Aleksandr Rotko engaged in at present and I do not know where he
jives. I also cannot tell when he will return to Estonia.

What is Olga Kotova engaged in at present, | cannot tell. | saw her last time by chance in

Tallinn at the central post office. As far as I know, she lives in Rakvere, but I am not sure,
When she lived in Tallinn, she leased an apartment.

   
 

© qranstation Jrom Russian
5, Notes on minutes: The minutes have been written according to my words correctly and

translated to me into Russian. /signature/ 2
fcontents or ahsence of notes, minutes of hearing are read personally or read out]

Translation from Estonian
6, Participants of the investigative proceeding have been explained that pursuant to section

214 of the Code of Criminal Procedure information concerning the pre-trial proceedings shall
be disclosed only with the permission of and to the extent specified by the Prosecutor’s

. Office.
Investigation proceeding finished at: 10:45 [time]

... K. Tehver /signature/ ....... eit ...Olga Novoseltseva /signature/....
[name of person conducting the proceeding] [name of the witness]

 

EXT-ROTKO-00007 1

 

 
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—_—_—_——

translation from Estonian

1) Name: Olga Novoseltseva
[given names & surname]

2) Personal identification code or date of birth: 47203270350
[date of birth if the personal identification code is missing]

3) Citizenship: Estonian
[Estonian or other]

4) Education: high education
[elementary, basic, high, vocational, higher]

5) Residence or location: Liikuri 36-26, Tallinn
[address or will not be stated upon request of the witness]

6) Place of work or educational institution: OU Ella Kaubandus
[name or will not be stated upon request of the witness]

7) Contact data: phone: 6352096

[number of communication means or e-mail address]

8) Relation to victim and suspect: employer
[what is the kind of relations]

9) Identity established by: A0248514

[name of document, ete.]

/signature/

EXT-ROTKO-000072

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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA TAIENDAVA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000225

“20” veebruar 2007a Tallinn
[uurimistoimingu kohi]

Uurimistoimingu algus 13.00 /kellaaeg]

Pohja = Politseiprefektuuri —_kriminaalosakonna majanduskuritegude _talituse
politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

" juhindudes KrMS §-dest 68, 74 ja 146 kuulas iile tunnistaja:

 

1.Tunnistaja Olga Novoseltseva isikuandmed lisatud imbrikus protokolli juurde

Tunnistaja digused ja kohustused:

Tunnistaja on kohustatud andma tdcseid dtlusi, kui Gtluste andmisest keeldumiseks puudub seaduslik alus
kdesoleva seadustiku §-de 71-73 jurgi (KrMS § 66 lg 3). Tunnistajale selgitatakse tema Bigust kirjutada dilusi
omakdeliselt (KrMS § 68 Ig 1). Tunnistaja voib Otlusi andes kasutada arvandmete ning nimede ja muude raskesti
meelespectavate andmete kohta markmeid ja muid dokumente (KrMS § 68 Ig 3). Oigus keelduda tunnistajana
Otluste andmisest on kahtiustatava vdi s(lddistatava: alanejal ja Glenejal sugulasel; del, pooldel, vennal, poolvennal
voi isikul, kes on vdi on olnud abielus kahtlustatava voi sOOdistatava 6c, poolde, venna voi poolvennaga; védras-
v6i kasuvanemal, vddras- voi kasulapsel: lapsendajal ja lapsendatwl; abikaasal, plsivas kooselus oleval isikul ja
tema vanemal, sealhulgas pirast abielu voi pisiva kooselu ISppemist (KrMS § 71 Ig 1). Tunnistaja vdib keelduda
Otluste andmisest Ka siis, kui Otlused voivad kuriteo val vaarteo loimepanemises sOOstada teda ennast voi
kéesoleva paragrahvi Idikes | loetletud isikuid (KrMS § 71 Ie 2). Oigus tunnistajana keelduda kulselegevuses
teatavaks saanud asjaolude kohta Otluste andmisest on: Eestis Tegistreeritud usuorganisatsiooni vaimulikul: kaitsjal
ja notaril, kui seaduses ei ole sitestatud tcisiti; tervishoiut66tajal ja farmatseudil isiku paritolusse, kunstlikku
Viljastamisse, perekonnasse vdi tervisesse puutuvate asjaolude pubul; isikul, kellele on seadusega pandud ameti-
v6i kutsesaladyse hoidmise kohustus (KrMS § 72 lg |). Tunnistajal on digus keelduda Otluste andmisest nende
i" asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadvst (KrMS § 73 Ig 1). i

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et  ittluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale iitluse andmise eest jargneb
vastutus KarS §-de 318 ja 320 jargi.

‘ (tunnistaja allkiri) owt
3,Uurimistoimingus osaleb télk: ............... babe jedesadedca MG o G2 if

[nimi ja kontaktaadress], keda on hoiatatud, et oma llesannete taitmisest alusetu
keeldumise ja teadvaly-valesti tlkimise eest vastutab ta KarS §-de 318 ja 321 jargi.

 

 

EXT-ROTKO-000073

 

 

 

 
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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA TAIENDAVA ULEKUULAMISE PROTOKO LL
kriminaalasjas nr 06730000225

“20” veebruar 2007a Tallinn
[wurimistoimingy koht]

Uurimistoimingu algus 13.00 /kellaveg]

Péhja Politseiprefektuuri  kriminaalosakonna majanduskuritegude _talituse
politseijuhtivinspektor Kaari Tehver,

(Menetleja ametinimetus ja nimi)
ip Juhindudes KrMS §-dest 68, 74 ja 146 kuulas iile tunnistaja:

1.Tunnistaja Olga Novoseltseva isikuandmed lisatud timbrikus protokolli juurde

Tunnistaja digused ja kohustused:

Tunnistaja on kohustatud andma téeseid otlusi, kui Gtluste andinisest keeldumiscks puudub seaduslik alus
kiesoleva seadustiku §-de 71-73 jurgi (KrMS § 66 lg 3), Tunnistajale selgitatakse tema ‘digust kirjutada Otlusi
omakdcliselt (KrMS § 68 Ig 1). Tunnistaja vib dtlusi anaes kasutada arvandmete ning nimede ja muude raskesti
meelespeetavate andmete kohta miirkmeid ja muid dokumente (KrMS § 68 Ig 3). Oigus keelduda tunnistajana
itluste andmisesi on kahtlustatava vai sOdistatava: alanejal ja dienejal sugulasei; dcl, pooldel, vennal, poolyennal
vi isikul, kes on vai on olnud abielus kahtlustatava voi sOOdistatava de, poolde, venna voi poolvennaga; vSGras-
véi kasuvanemal, vddras- voi kasulapsel; lapsendajal ja lapsendatul; abikaasal, pOsivas kooselus oleval isikul ja
tema vanemal, sealhulgas parast abielu vdi pilsiva kooselu lGppemist (KrMS § 71 Ig 1), Tunnistaja véib keelduda
Otluste andmisest ka siis, kui Otlused vdivad kuriteo vOi vasrteo toimepanemises siOstada teda ennast voi
k#esoleva paragrahvi ldikes | Joetletud isikuid (KrMS § 71 Ig 2), Oigus lunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta titluste andmisest on: Ecstis registrecritud usuorganisatsiooni vaimulikul: kaitsjal
Ja notaril, kul seaduses ei ole stitestatud teisiti: tervishoiutédtajal ja farmatseudil isiku Piritolusse, kunstlikku
viljastamisse, perekonnasse vOi tervisesse puutuvale asjaolude puhul; isikul, kellele on seadusega pandud ameti-
voi kutsesaladuse hoidmise kohustus (KrMS § 72 lg 1). Tunnistajal on digus keelduda Ouluste andmisest nende
ey asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 Ig 1).

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et  iitluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale iitluse andmise eest jargneb
vastutus KarS §-de 318 ja 320 jargi. ‘

(tunnistaja allkiri) ot
3.Uurimistoimingus osaleb tolk: ............... (bebe ni eee: wy CMA 3 E a

[nimi ja kontaktaadress], keda on hoiatatud, et oma iilesannete tditmisest alusetu
keeldumise ja teadvalf-valesti tlkimise eest vastutab ta KarS §-de 318 ja 321 jargi.

 

 
  

(Clg allkirt) (A

AOR AGE

 

EXT-ROTKO-000074

 

 

 

 

 
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4. Utlused:

Millal ning kelle kdest Te ostsite endale s/a Acura Trooper SLX reg nr 61ZGB?

Ostnud ma endale seda autot ei ole, Olga Kotova lihtsalt kinutas selle auto minu
nimele.

Mis cesmérgil auto Teie nimele vormistati?

telefonile. Kuid ta helistas, siis kiisis, kas ma olen nous, et auto kirjutatakse minu
nimele ja ma miiiin selle auto edasi. Ma olin nous séllega.

Mis Olga Kotova ti pohjuseks, et see auto on vaja Teie nimele kirjutada edasi
miiiigi eesmargil?

Olga Kotova t6i pohjuseks selle, et kuna ta Tallinnas ei viibi, siis ei ole tal
vOimalik auto miiiigiga tegeleda ning seet6ttu palus ta mul selle auto enda nimele
kirjutada.

Ma olin koheselt sellega néus ning kas jargmine vai ulejérgmine pave me
laksimme ja vormistasime selle ARK-is minu nimele timber, Saime temaga
kokku minu maja laheduses olevas bussi peatuses, kuhu Olga Kotova oli juba
tulnud. Olga Kotova helistas ja tellis takso ja me sditsime ARK-i, Minu meelest
oli see kusagil Mustamiel. Ise ma sinna minna ei oskaks. K6igepealt liksime
sina ARK-i kérval olevasse parklasse, kus see auto seisis. K6igepealt me
vormistasime seal mingid paberid. Mis paberitele ma seal alla kirjutasin, ma
tapselt ei tea, kuna kdik toimus eesti keeles. Ma sain aru, et see auto kuulus enne
Olga Kotovale ning see auto oli seal enne juba miiligis. Parast laksime ARK-i ja
vormistasime mingid paberid, mis paberid me seal vormistasime tapselt ei tea,
lean et see auto vormistati minu nimele. Parast ARK-I laksime uuesti sinna
miitigiplatsile, kus mulle anti see leping, mille ma uurijale edasi annan. Seejarel
sditsime taksoga linna. Olga Kotova lihtsalt iitles mulle, et kui auto miiiigi eest
raha laekub, siis Aleksandr Rotko annab mulle telefoni tee! teada, kuhu raha
kanda.

 

 

Juhul kui auto miitiakse maha. Kuidas ning kellele te sellest teatate, et saaksite
miiiigist laekunud raha tile kanda?

Teatan sellest Aleksandr Rotkole, siis kui ta mulle ise helistab. Minul endal ei ole
tihtegi Olga Kotova ja Aleksandr Rotko telefoninumbrit. Tapsustan, mul on Olga
Kotova mobiili number 56492932. Seda, millal ma talle ise oleks helistanud, ei [
tea.

 

Mis-péhjusel Aleksandr Rotko helistab ainult lava telefoni?
Et osaka 6elda, see on vist soodsam

   
  

Kas Te teate praegusel hetkel teate Aleksandr Rotko ja Olga Kotova asukohtageC

Tapselt ei tea, aga vist Rotko on Ameerikas. Kus Olga Kotova asub e; t
maleta, kas kohtasin teda Viimati postkontoris peale auto tehingut voi
igaljuhul jah, need olid kaks viimast kohtumist temaga. Telefoni tee! ei oleSa.
temaga suhelnud peale seda.

EXT-ROTKO-000075
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Mis pdhjusel Te Olga Kotovale ei helista, kui auto on maha miitidud?

Ma ei nae pohjust miks ma peaks helistama O! ga Kotovale, kuna see auto on ju
tegelikult kuulunud kogu aeg Aleksandr Rotkole. Ma sain sellest aru nit, et kui
Aleksandr Rotko siit lahkus Ameerikasse, siis vormistas ta selle auto umber Olga
Kotova nimele, et tema tegeleks miiligiga ning niiiid kui Olga Kotoval ei ole aega
selle auto miiiigiga tegeleda, siis palus ta see auto minu nimele vormistada, et
saaks mina selle auto maha miitia, kui leidub ostja. Seda et nad on abielus ma
toepoolest kuulsin esimest korda uurija kaest ning seetdttu ei osanud arvata, et ma
voiks auto miitigist teatada ka Olga Kotovale.

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 vdib kohtueelse
menetluse andmeid avaldada tiksnes prokuratuuri loal ja tema madratud ulatuses,

[menetlejaamemiku nimi]

[tunnistaja ninti

 

 

EXT-ROTKO-000076

 
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1)Nimi: Olga Novoseltseva

[ees- ja perekonnanimi]

2)lsikukood vGi siinniaeg: 47203270350

[isikukoodi puudumisel stinniaeg]

3)Kodakondsus: eesti
[eesti, vene jm]

4)Haridus: keskharidus
fale-, pohi-. kesk-, keskeri-, kdrgent haridus]

S)Elu- véi asukoht: Liikuri 36-26, Tallinn

[aacdress voi jdetakse markimata tunnistaja taotlusel]

6)T66koht vi Sppeasutus: OU Ella Kaubandus

[nimetus voi jdetakse médrkimata tunnistaja taotlusel]

7)Kontaktandmed: tel: 6352096

(sidevahendi number vidi e-posti aadress]

8)Suhe kannatanu ja kahtlustatavaga: tédandja
[inis lacdi suhted on kannatany ja kahtlustatavaga]

9)Isikusamasus tuvastatud: A0248514

[dokumendi nimetus vms]

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p sation from Estonian

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NORTH POLICE PREFECTURE

MINUTES ON SUPPLEMENTARY QUESTIONING OF WITNESS
in the criminal matter No, 06730000225

50" February 2007 ' Tallinn
[n’ estigative proceeding started at: 13:00 /time]

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime

De partment of the North Police Prefecture,
b>. {name and professional status of the official conducting the proceeding]

Buided by sections 68, 74 and 146 of the Code of Criminal Procedure, questioned as witness:
|. \ itness Olga Novoseltseva, personal data enclosed with the minutes in an envelope

The rights and obligations of witness: :

A witness shall give truthful testimony unless there are lawful grounds specified in sections 71-73 of this Code
for refusal to give testimony (section 66 (3)). The rights and obligations of witnesses and the right to write the
estimony in hand-writing shall be explained to a witness (section 68 (1)). While giving testimony, a witness may
ise notes and other documents: concerning numerical data, names and other information which is difficult to
imemorise (section 68 (3)). The following persons have the right to refuse to give testimony as witnesses: the
descendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
Gecused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
Accused; a step or foster parent or a step or foster child of the suspect or accused; an adoptive parent or an
adopted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
faccused, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
e(section 71 (1)). A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
“person listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
‘he or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
 (2)). The following persons have the right to refuse to give testimony as witnesses concerning the circumstances
“which have become known to them in their professional activities: the ministers of religion of the religious
| tganisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care
professionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or
health of a person; persons on whom the obligation to maintain a professional secret has been imposed by law
(section 72 (1)). A witness has the right to refuse to give testimony concerning circumstances to which the State
Secrets Act applies (section 73 (1).

2. Rights and obligations have been explained to witness pursuant to sections 66-73 of the
Code of Criminal Procedure. A witness of at least 14 year old has been warned that the
Unjustified refusal from giving testimony and giving knowingly false testimony are
Punishable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

(signature of witness)

3. Investigative proceeding is attended by interpreter: ./signature/. J. Koovit ... ¢
Contact address] who has been warned, ofthe liability for the unjustified refusal to perf

 
 
 

 

 
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| _ duties and for the provision of a knowingly false interpretation pursuant to sections 318,
| Fi of the Penal Code.

/signature/ (signature of interpreter)

 

) Testimony: |

(yhen_and from whom you purchased for yourself the car Acura Trooper SLX with

= jistration number 6 LZGB?
pave not purchased this car for myself, Olga Kotova just registered this car to my name.

(on what purpose the car was registered to your name?

Olga Kotova called me, | think, this could be the day beforé the car was registered to my
Fme in the Motor Vehicle Registration Centre, i.e. 27.12.2006, but I am not absolutely sure
any more. I do not remember whether Olga Kotova called on my mobile phone or on my
Home number. When she called, she asked if I would consent that the car will be registered on

my name and I will resell this car. I consented on that.

What was the reason, told by Olga Kotova, that the car must be registered to your name for
the purpose of resale?
(Olga Kotova told the reason to be the fact, that as she is not staying in Tallinn, she is not able
to deal with the sale of the car and therefore she asked me to register the car to my name.
I consented to it at once and either on the next day or the day after that we went to the Motor
Vehicle Registration Centre and re-registered it to my name. We met with her at the bus stop
near my house, Olga Kotova was already there. Olga Kotova called a taxi and we drove to the
Motor Vehicle Registration Centre. In my mind it was somewhere in Mustamie. I could not
be able to go there by myself. At first we went to the parking lot beside the Motor Vehicle
Registration Centre, where the car was standing. First we formalized some documents there.
What kind of documents I signed there, [ do not know exactly, as it all took place in Estonian .~
‘language. I understood, that the car formerly belonged to Olga Kotova and the car was already
there on sale. Afterwards we went to the Motor Vehicle Registration Centre and formalized
some documents, what kind of documents we formalized, I do not know exactly, I know, that
‘this car was registered to my name. After the Motor Vehicle Registration Centre we went
) once again to that sales plot, where this contract was given to me which I hand over to the
- investigator. Thereafter we drove into town by taxi. Olga Kotova just said to me that when the
money will be received for the sale of the car, then Aleksandr Rotko will let me know by
: phone where I should transfer the money to.

 

' In case if the car will be sold. In what way and whom you will notify about that, so that you

> could transfer the money received from the sale?
I will notify Aleksandr Rotko, when he himself calls me. I myself do not have any phone

numbers of Olga Kotova and Aleksandr Rotko, I specify, I do have a mobile phone number of
Olga Kotova- 56492932. When I would have called him myself, I do not know.

On what reason does Aleksandr Rotko make calls only to the desk set?
I cannot tell, probably this is more favorable.

ie Do you at present know the location of Aleksandr Rotko and Olga Kotova?
: I do not know exactly, but probably Rotko is in America. Where is Olga Kotova, I do not
| y, but probably 3 nO bece
rr know. I do not remember, whether I met her last time at the post office after the trans gM a re :
5 : . . . Re te
) with the car or before that, anyway, yes, these were the last two times I met her. | t GSO, a P OMA
: ae B, Z|

 
  
 

not communicated with her by phong,afies thatoooo79 s6 Lace, . ot
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what reason you do not call Olga Kotova, as the car is sold?

> y can see no reason why I should call Olga Kotova, as the car has actually belonged to
- Aleksandr Rotko all the time. I understood it in such way that when Aleksandr Rotko left and
© went to America, then he re-registered this car to the name of Olga Kotova, so that she would
4 ; geal with the sale, and now, as Kotova has no time to deal with the sale of this car, she asked
ie: me 10 register this car to my name so that I could sell the car in case of potential buyer. About
{he fact, that they are married, I really heard for the first time from the investigator and
> therefore I could not think that I should also notify Olga Kotova about the sale of the car.

~ translation from Russian .
5, Notes on minutes: The minutes have been written according to my words correctly and

translated to me. /signature/
= [contents or absence of notes, minutes of hearing are read personally or read out]

Translation from Estonian ;
6. Participants of the investigative proceeding have been explained that pursuant to section
314 of the Code of Criminal Procedure information concerning the pre-trial proceedings shall
“be disclosed only with the permission of and to the extent specified by the Prosecutor’s

_ Office.

Investigation proceeding finished at: 14:00 [time]

... Kaari Tehver /signature/ .......... ...Olga Novoseltseva /signature/ ....
» [name of person conducting the proceeding] [name of the witness]
/signature/

 

 

EXT-ROTKO-000080

 
     

 

POHJA POLITSEIPREFEKTUUR

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000225

« 14” detsember 2006a Tallinn

[uurimistoiiningu koht]

Uurimistoimingu algus 10.00 /kellaaeg]

politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

juhindudes KrMS §-dest 68, 74 ja 146 kuulas tile tunnistaja:

Tunnistaja digused ja kohustused:

asjaolude kahta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 lg 1).

vastutus KarS §-de 318 ja 320 jargi.
pen (tunnistaja_allkiri)

[nimi ja kontaktaadress], keda ol

iO

(tolgi allkiri)

4, Utlused:

Pohja - Politseiprefektuuri kriminaalosakonna = majanduskuritegude

3,Uurimistoimingus osaleb tolk: So hegotait Sc ikg Wis Woerwm eb
 hoia

tatud, et oma tilesannete téitmisest aluseiucere
keeldumise ja teadvalt valesti t6!kimise cest vastutab ta KarS §-de 318 ja 321 iy

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talituse’

{.Tunnistaja andmed: lisatud timbrikus protokolli juurde O1.GA SAVITSKA WA

Tunnistaja on kohustatud andma tdeseid Gitlusi, kui Gtluste andmisest keeldumiscks puudub seaduslik alus
kiicsoleva scadustiku §-de 71-73 jiirgi (KrMS § 66 lg 3). Tunnistajale selgitatakse tema digust kirjutada fitlusi
omakieliselt (KrMS § 68 Ig 1). Tunnistaja vaib Gtlusi andes kasutada arvandmete ning nimede ja muude raskesti
meelespeetavate andmete kohta markmeid ja muid dokumente (KrMS § 68 Ig 3). Oigus keelduda tunnistajana
itluste andmisest on kahtlustatava voi silildistatava: alanejal ja Glenejal sugulasel; dcl, pooldel, vennal, poolvennal
voi isikul, kes on voi on olnud abielus kahtlustatava vi siitidistatava 6c, pooldc, venna voi poolvennaga, vodras-
voi kasuvanemal, vooras- voi kasulapsel; lapsendajal ja lapsendatul; abikaasal, plisivas koosclus oleval isikul ja
tema vanemal, seallulgas purast abiclu voi pisiva kooselu léppemist (KrMS § 71 (g !). Tunnistaja voib keelduda
fitluste andmisest ka siis, kui Utlused yvoivad kuriteo vai viirlea toimepanemises sGdstada teda ennast voi
kiesoleva paragrahvi ldikes | loctletud isikuid (KrMS § 71 Ig 2). Oigus lunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta dtluste andmisest on: Eestis registreeritud usuorganisatsiooni vaimulikul; kaitsjal
ja notaril, kui seaduses ci ole sftestatud teisiti; tervishoiulédtajal ja farmatseudil isiku piritolus
viljastamisse, perckonnasse vai lervisesse puutuvate asjaolude puhul, isikul, kellele on seadusega pandud ameti-
Vai kutsesaladuse hoidmise kohustus (KrMS § 72 Ig 1). Tunnistajal on digus keelduda Otluste andmisest nende

se, kunstlikku

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt |4-aastast tunnistajat on hoiatatud, et iitluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale titluse andmise eest jaérgneb

aanee tsacane eee

aa ta,
FOMN AMER

Pee OS
cay “sy

      

 

EXT-ROTKO-000081 KOC

 
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fis ajavahemikul ja kellena Te tédtasite AS BPV?

_Alates 2005.a kuni 2006.a juuli kuuni, téélepingu jargi olin manedzer, aga tegin
jaqjuhataja todd.
Millise tegevusalaga tegeles AS BPV?
_gaematerjalide tédtlemisega, vastavalt kliendi poolt toodud materjalile, Saematerjali
{sdtlesime oma sackaatris.
Kes juhtis firma igapaeva tegvust AS-is BPV? Firma igapéevategevust juhtis  -
Aleksandr Rotko.
Millised tilesanded olid Olga Kotoval?
-Olga Kotova oli sekretar.
Kas Te olite teadlik, et Olga Kotova oli tegelikult AS BPV juhatuse liige, mitte
Aleksandr Rotko?
- ei seda ma ei teadnud, teadsin, et firmat juhib Aleksandr Rotko,

Kelle korraldusel ja millal eemaldati aadressil Kiiti tn 17 ja Kiiti tn 17.a lennusadama
territooriumilt, Tallinn kai katteplaadid, [Shuti osaliselt katlamaja ning eemaldati sealt
katel, viidi dra raudteerelsid, katkestati vee- ja elektrivarustus?

Kuhu viidi raudteerelsid, kuhu viidi kai katteplaadid, kuhu_ viidi eemaldatud
katlamaja?

-Kui tuli kohtuotsus, et me peame sealt territooriumilt lahkuma, siis ma kasutasin
oma voimalust ja vétsin valja puhkuse. Puhkusele laéksin ma juuli algul, mis
kuupdeval, ma enam tapselt ei maleta. Kuna oli teada, et ma seal firmas enam tdéd ei
jatka, siis kohe juuli algul, kui ma puhkusele laksin vorsmistasime ka
lahkumisavalduse, nii, et peale seda ei ole ma seal enam kunagi kéinud. Seda, kas
sealt territooriumilt ka midagi ara viidi, millal vdi kelle poolt, ma samuti ei tea.
Samuti ei ole ma kellegi kaest kuulnud, et keegi sealt midagi ara viia soovis.

Parast sealt tédlt lahkumist olen kohtunud Olga Kotovaga, kuid t66 asjadest me
temaga ei réakinud.

5.Markused protokolli kohta: .. J/Pe/ae an
bac IEPEDERLEH.....

[margitakse markuste sisu vdi Aende praulunine; protokoll loetud leibi ixiklikult vi loetud ette]

  

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 voib kohtueelse
menetluse andmeid avaldada tiksnes prokuratuuri loal ja tema maaratud ulatuses.

Uurimistoimingu lépp: —[kel/aaeg]
seeeniteved ad vdox Oicceimsaseaing O.FanlrsKnaP Ola

  
  
   

’ é SEARLE EROS ORIN OASIS SE CE MEE Ee s Seysese ss sees (=
[menetlejaametniku nimi] [unnistaja nimi] g& A LO

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EXT-ROTKO-000082

 
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Translation from Estonian

 

NORTH POLICE PREFECTURE

MINUTES ON QUESTIONING OF WITNESS
in the criminal matter No. 06730000225

14" December 2006 Taltinn
Investigative proceeding started at: 10:00 /time]

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime

Department of the North Police Prefecture,
!) [name and professional status of the official conducting the proceeding]

guided by sections 68, 74 and 146 of the Code of Criminal Procedure, questioned as witness;
1, Witness’ personal data: enclosed with the minutes in an envelope, OLGA SAVITSKAJA

The rights and obligations of witness:

A witness shall give truthful testimony unless there are lawful grounds specified in sections 71-73 of this Code
for refusal to give testimony (section 66 (3)), The rights and obligations of witnesses and the right to write the
testimony in hand-writing shall be explained to a witness (section 68 (1)). While giving testimony, a witness may
use notes and other documents concerning numerical data, names and other information which is difficult to
memorise (section 68 (3)). The following persons have the right to refuse to give testimony as witnesses; the
descendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
accused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
accused; a step or foster parent or a'step or foster child of the suspect or accused; an adoptive parent or an
adopted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
accused, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
) (section 71 (1)). A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
8 person listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
he or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
(2)). The following persons have the right to refuse to give testimony as witnesses concerning the circumstances
which have become known to them in their professional activities: the ministers of religion of the religious
organisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care
professionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or
health of a person; persons on whom the obligation to maintain a professional secret has been imposed by law
(section 72 (1)). A witness has the right to refuse to give testimony coricerning circumstances to which the State
Secrets Act applies (section 73 (1)).

2. Rights and obligations have been explained to witness pursuant to sections 66-73 of the
Code of Criminal Procedure. A witness of at least 14 year old has been warned that the
unjustified refusal from giving testimony and giving knowingly false testimony are
punishable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

/signature/ (signature of witness)

ALI /

: JE" ?Ro, 8

3. Investigative proceeding is attended by interpreter: ... J. Koovit ... [name and contac! ag reps] e a es
iabili justi : i ufesandiry | NR

who has been warned of the liability for fhe upistified refusal to perform his or her H £3 ee aM
ha \tenege. | >i

  

 

 

 
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| for the provision of a knowingly false interpretation pursuant to sections 318, 321 of the Penal
code.

/signature/ (signature of interpreter)

_ 4, Testimony:
In which time period and on what position did you work in AS BPV?
- Starting from 2005 until July 2006, according to the employment contract I was a manager,
put I performed the duties of warehouse keeper.
| What was the activity in which AS BPV operated?
, | - Processing of saw-timber, according to the material brought by customer. We processed the
Js saw-timber in our saw-mill.
_ Who directed the regular operation of the company in AS BPV?
We | ~The regular operation of the company was directed by Aleksandr Rotko.
What were the duties of Olga Kotova?

_ -Olga Kotova was a secretary.

| Were you aware, that Olea Kotova was actually a member of management board of the

«f company, and not Aleksandr Rotko? |
=) Zz No, I did not know that, I knew, that Aleksandr Rotko was directing the company.

Fr 1) On whose order and when from the territory of the Seaplane Harbor at the address Kiiti street
af 4 17 and Kiiti street 17a. Tallinn, were removed cover slabs of the dock. was_partially
| destructed the boiler house and removed from there the kettle, were taken away railroad
tracks, was cut off the water supply and electricity supply?
Where the railroad tracks were taken to. where the cover slabs of the dock were taken to,
where the removed boiler house was taken to?
- When the court decision came, that we must leave that territory, then I used my opportunity
and took out my vacation. I went on leave at the beginning of July, on which date, I do not
remember exactly any more. As it was known, that I will not continue the employment in that
company any more, then, directly at the beginning of July, when I went on leave, we also
formalized the resignation, so, after that I have never been there anymore. I do not also know
whether anything was taken away from that territory, also when or by whom it was done. I
H have also not heard from anyone that somebody wished to take something away from there.
After my resignation from that firm I have met Olga Kotova, but we did not talk about work
issués with her.

 

Translation from Russian
! 5. Notes on minutes; The minutes have been written according to my words and translated to

} me. /signature/
[contents or absence of notes, minutes of hearing are read personally or read out]

Translation from Estonian
6. Participants of the investigative proceeding have been explained that pursuant to section

214 of the Code of Criminal Procedure information concerning the pre-trial proceedings shall
be disclosed only with the permission of and to the extent specified by the Prosecutor’s

ZO" Arne
je

Office.

 

Investigation proceeding finished at: /time]

nce baesiisiiheaistriditiccutiy tauren «- Haig O, SAVITSKASA /signatuie®

[name of person conducting the proceeding] [name of the witness]

  

EXT-ROTKO-000084 me
~ ' OE ch bean Lamm anaunad af tha liahility nursuant ta sections 318, 321 of the Penal Code. ?
 

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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000225

“99” oktoober 2006a . Tallinn

[uurimistoimingu koht)
Uurimistoimingu algus 10,00 [kellaaeg]

Pohja  Politseiprefektuuri  kriminaalosakonna majanduskuritegude _talituse

politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

juhindudes KrMS §-dest 68, 74 ja 146 kuulas iile tunnistaja:
1.Tunnistaja andmed:

1)Nimi: Tiit Einberg
[ees- ja perekonnanimi]

2)Isikukood v6i siinniaeg: 36609030295
[isikukoodi pundumisel siinniaeg]

3)Kodakondsus EV

[eesti, vene jm]

4)Haridus: kérgem
[alg-, pahi-, kesk-, keskeri-, kOrgem haridus]

5)Elu- véi asukoht: Harjumaa, Viimsi vald, Kastani 5
[aadress véi jdéetakse méirkimata tunnistaja taotlusel]

6)Tédkoht voi Sppeasutus: Eesti Meremuuseum
[nimetus vGi jaetakse mdrkimata tunnistaja taotlusel]

7)Kontaktandmed: tel: 5131623

[sidevahendi number vi e-posti aadress]

8)Suhe kannatanu ja kahtlustatavaga:
[mis laadi suhted on kannatanu ja kahtlustatavaga]

9)Isikusamasus tuvastatud: EE291620 juhiluba

[dokumendi nimetus vis]

  
 

Tunnistaja digused ja kohustused: 25;
Tunnistaja on kohustatud andma téescid dtlusi, kui Gtluste andmisest keeldumiseks puudub seaduslik alus //
kdesoleva scadustiku §-de 71-73 jargi (KrMS § 66 lg 3). Tunnistajale selgitatakse tema Digust kirjutada utlusi
omakticliselt (KrMS § 68 lg 1), Tunnistaja voib (ilusi andes kasutada arvandmete ning nimede ja munde-raskesti)  /., .
meclespectavate andmete kohta marke BOMSG GOLA nte (Krys § 68 Ip 3). Oigus keelduda tunnistajana

a a

 
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Utluste andmisest on kahtlustatava voi silidistatava: alanejal ja tilenejal sugulasel; del, pooldel, vennal, poolvennal
voi isikul, kes on voi on olnud abielus kahtlustatava voi silildistatava de, poolde, venna voi poolvennaga; vddras-
voi kasuvanemal, védras- voi kasulapsel; lapsendajal ja lapsendatul; abikaasal, plisivas kooselus oleval isikul ja
tema vanemal, sealhulgas parast abielu voi pilsiva kooselu léppemist (KrMS § 71 Ig 1). Tunnistaja voib keelduda
Utluste andmisest ka siis, kui iitlused vdivad kuriteo vOi vatirteo toimepanemises silstada teda ennast voi
kdesoleva paragrahvi [dikes 1 Joetletud isikuid (KrMS § 71 Ig 2). Oigus tunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta Utluste andmisest on: Eestis registrecritud usuorganisatsiooni vaimulikul; kaitsjal
ja notaril, kui seaduses ci ole sdtestatud teisiti; tervishoiutédtajal ja farmatseudil isiku paritolusse, kunstlikku
viljastamisse, perekonnasse voi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti-
voi kutsesaladuse hoidmise kohustus (KrMS § 72 Ig 1). Tunnistajal on Gigus keelduda ditluste andmisest nende
asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 Ie 1). t

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et  iitluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale titluse andmise eest jargneb

vastutus yD 320 jargi .
\ : / Z / (tunnistaja allkiri)
aN we
3.Uurimistoiningus osaleb tol: .......ccsscccesecevecesrescauedeccsvedcacceeseceussesssumesees

[nimi ja kontaktaadress], keda on hoiatatud, et oma iilesannete tiitmisest alusetu
keeldumise ja teadvalt valesti t6lkimise eest vastutab ta KarS §-de 318 ja 321 jargi.

(tdlgi allkiri)

 

4. Utlused:

Tédtan Eesti Meremuusemis Lennusadama kuraatorina 2004.a. Meremuuseum asub
aadressil Kiiti 15a, Tallinn. See asub endisel Lennusadama territooriumil. Suvel juuni
— juuli kuus, tapset aega ei maleta panin taéhele, et Lennusadama territooriumil
aadressil Ktiti 17a, Tallinn asuvad ettevétted hakkasid Ara transportima seal sadama
kai katteplaate ning laoplatsi katteplaate. Samuti panin tahele, et nad viisid dra
sadamakraana, mille nad ldikasid katki ning transportisd dra. Otseselt ma ei ndinud”
seda momenti, kui nad raudteerelsid tiles vétsid, aga kui ma juuli l6pu poole seal
territooriumil kdisin, siis oli kraana juba ara viidud ja dra viidud ka raudteerelsid.
Samuti tean, et see katlamaja katus ldigati pealt ning sedakaudu tésteti kraanaga valja
katel, mis téendoliselt viidi vanametalli. Nende vesilennukite angaaride katuste kohta
voin delda, et niipalju kui mina tean, on seal alates 2003,a suvest olnud peal ainult tiks
katus — kGige merepoolsem. Teiste juttude jargi tean, et tilejainud kaks katust viis
minema torm (mis aastal ei tea). KOik see metalli ja betoonplaatide transportimine
sealt territooriumilt kais suhteliselt lihikese ajaga juuni l6pp — juuli kuu. Niipalju kui
mina sellest asjaajemisest seal aru sain, oli seal pdhiliseks firmaks AS BPV, mida
juhtis Aleksandr Rotko. Olga Kotova oli minu teadmisel seal rohkem nagu sekretir.
Minu arusaamisel juhtis seal territooriumil igapaeva tegevust Aleksandr Rotko.

   
  
 

5.Markused protokolli kohta: .... A. 9 32.2 Ne Dercgnaoronuaina ch exeats poses

SRE ee bee SBR hercun omg
\ tilt vi oct

[mérgitakse mérkuste sisn voi nende puudumine: protokoll loetud abi isiklikult vai loctnd

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 vib kolit
menetluse andmeid avaldada iiksnes prokuratuuri loal ja tema maaratud ulatuses

_Lypimistos ingu lépp¥
« (ef e4

Pete renee Pera e cic sce ceietes eet ted seenrenenaue

[menetlejaametnifu: nimi]

  

EXT-ROTKO-000086

 
  

 

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Translation from Estonian

 

NORTH POLICE PREFECTURE

MINUTES ON QUESTIONING OF WITNESS
in the criminal matter No. 06730000225

9" October 2006 Tallinn
Investigative proceeding started at: 10:00 /time]

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime

Department of the North Police Prefecture,
[name and professional status of the official conducting the proceeding]

guided by sections 68, 74 and 146 of the Code of Criminal Procedure, questioned as witness:
1. Witness’ personal data:

1) Name: Tiit Einberg

[given names & surname]

2) Personal identification code or date of birth: 36609030295
[date of birth if the personal identification code is missing]

3) Citizenship: Republic of Estonia
[Estonian or other]

4) Education: high education
[elementary, basic, high, vocational, higher]

5) Residence or location: Harjumaa, Viimsi parish, Kastani 5
[address or will nat be stated upon request of the witness]

6) Place of work or educational institution: Estonian Maritime Museum
[name or will not be stated upon request of the witness]

7) Contact data: phone: 5131623

[number of communication means or e-mail address]

8) Relation to victim and suspect: employer
[what is the kind of relations]

9) Identity established by: driving licence EE291620

{name of document, etc.]
EES:
(EE 5
Gon" PRO

The rights and obligations of witness:
A witness shall give truthful testimony unless there are lawful grounds specified in sections 71-73

for refusal to give testimony (section 66 (3) FR HZEhEAdebligations of witnesses and the right
testimony in hand-writing shall be explained to a witness (section 68 (1)). While giving testimony, a

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se notes and other documents concerning numerical data, names and other information which is difficult to
jemorise (section 68 (3)). The following persons have the right to refuse to give testimony as witnesses: the
jescendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
cused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
© cused; a step or foster parent or a step or foster child of the suspect or accused; an adoptive parent or an
) ,dopted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
ccused, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
section 71 (1)). A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
orson listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
2 or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
| (2)). The following persons have the right to refuse to give testimony as witnesses concerning the circumstances
‘which have become known to them in their professional activities: the ministers of religion of the religious
organisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care
| yrofessionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or
“health of a person; persons on whom the obligation to maintain a professional secret has been imposed by law
(section 72 (1)). A witness has the right to refuse to give testimony concerning circumstances to which the State
Secrets Act applies (section 73 (1)).

9, Rights and obligations have been explained to witness pursuant to sections 66-73 of the
Code of Criminal Procedure. A witness of at least 14 year old has been warned that the
unjustified refusal from giving testimony and giving knowingly false testimony are
punishable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

/signature/ (signature of witness)

3. Investigative proceeding is attended by interpreter: .........ssee [name and contact address]
who has been warned of the liability for the unjustified refusal to perform his or her duties and
for the provision of a knowingly false interpretation pursuant to sections 318, 321 of the Penal
Code.

(signature of interpreter)

4, Testimony:

, I am working in Estonian Maritime Museum as a curator of the Seaplane Harbor starting from
) 2004. The Maritime Museum is located at the address Kiiti 15a, Tallinn. This is located on the
, territory of the former Seaplane Harbor. In summer — in June or July, I do not remember the
§) «exact time, I noticed, that the companies located on the territory of the Seaplane Harbor at the

address Kiiti 17a, Tallinn, started to transport away from there the cover slabs of the dock of
the port and the cover slabs of the open storage area. I also noticed, that they took away the
crane of the port, which they cut into pieces and transported away. I did not see directly the
moment when they removed the railroad tracks, but when I was on that territory towards the
end of July, then the crane had already been taken away and the railroad tracks had also been
taken away. I know also, that the roof of this boiler room was cut off and this way, by crane,
was lifted out the kettle, which was most probably taken to waste metal, As for the roofs of
the hangars, I can tell, that, as far as I know, since the summer of 2003 there has been only
one roof — the nearest to the sea. From what has been told by others, I know, that the other
two roofs were taken away by storm (in which year, I do not know). The whole transportation
of this metal and of the concrete slabs from that territory took place in quite a short time — by
end of June — July. As far as I understood from the business there, the main company there
was AS BPV, which was directed by Aleksandr Rotko. Olga Kotova, as far as I know, was
more like a secretary there. As far as I understand, the regular operation on that territory was
directed by Aleksandr Rotko. i

 

  

5. Notes on minutes: The minutes haye been written according to my words and are coryg
; T-ROTKO-000088
/signature/

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| 6, Participants of the investigative proceeding have been explained that pursuant to section
914 of the Code of Criminal Procedure information concerning the pre-trial proceedings shall
pe disclosed only with the permission of and to the extent specified by the Prosecutor’s
Office.

Investigation proceeding finished at: 10:30 [time]

De scnaal Ki. Tehverssignaiures cccicacce = www nes /SIQHQUUTE/ oo sec eves
[name of person conducting the proceeding] {name of the witness]

  

2)”

as”

Translator Kadi Kuusk has been warned of the liability pursuant to sections 318, 32] of the Penal Code.

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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000427

“15” detsember 2006a Tallinn

[uurimistoimingu koht)
Uurimistoimingu algus 12.00 /kellaweg]

Pdhja_ _Politseiprefektuuri kriminaalosakonna majanduskuritegude _ talituse

politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

juhindudes KrMS §-dest 68, 74 ja 146 kuulas tile tunnistaja:

1.Tunnistaja:
Aleksei Bassenkoy andmed lisatud iimbrikus protokolli juurde

Tunnistaja digused ja kohustused:

Tunnistaja on kohustatud andma tdescid itlusi, kui Gtluste andmisest keeldumiseks puudub seaduslik alus
kiesoleva seadustiku §-de 71-73 jargi (KrMS § 66 Ig 3). Tunnistajale selgitatakse tema Gigust kirjutada titlusi
omakdeliselt (KrMS § 68 lg 1). Tunnistaja voib Utlusi andes kasutada arvandmete ning nimede ja muude raskesti
meelespectavate andmete kohta mirkmeid ja muid dokumente (KrMS § 68 Ig 3). Oigus keelduda tunnistajana
(itluste andmisest on kahtlustatava voi siilidistatava: alanejal ja Glencjal sugulasel; del, pooléel, vennal, poolvennal
voi isikul, kes on vdj on olnud abielus kahtlustatava vOi siidistatava Ge, poolde, venna voi poolvennaga; vddras-_
voi kasuvanemal, vGdras- voi kasulapscl; Japsendajal ja lapsendatul; abikaasal, piisivas kooselus oleval isikul ja
tema vanemal, sealhulgas parast abiclu vi plisiva kooselu loppemist (KrMS § 7] Ig 1). Tunnistaja voib keelduda
titluste andmisest ka siis, kui itlused vdivad kuriteo vdi viirteo toimepanemises sililstada teda ennast voi
kdesoleva paragrahvi [dikes I loetletud isikuid (KrMS § 71 lg 2). Oigus tunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta titluste andmisest on: Eestis registreeritud usuorganisatsiooni vaimulikul; kaitsjal
ja notaril, kui seaduses ci ole sétestatud teisiti; tervishoiutédtajal ja farmatseudil isiku paritolusse, kunstlikku
viljastamisse, perekonnasse vGi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti-
vai kutsesaladuse hoidmise kohustus (KrMS § 72 Ig 1). Tunnistajal on digus keelduda iitluste andmisest nende
asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 lg 1).

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et  titluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale titluse andmise eest jargneb
vastutus KarS §-de 318 ja 320 jargi.

 

     

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Ly We if
3.Uurimistoimingus osaleb talk: ...040..4 SOLCQZA2 A. Joccccccccecceeceecnecues i Kg ea
[nimi ja kontaktaadress], keda on roiatatud, et oma tilesannete taitmise, oes

7 eS (tlgi allkiri)
KAP A

 

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4. Utlused:

Mis ajavahemikul ja kellena Te tédtasite AS BPV?

-Alates 2005.a kuni 2006.a kevadeni, olin abitédline saekaatris.

Millise tegevusalaga tegeles AS BPV?

-Saematerjalide t66tlemisega,

Kes juhtis firma igapieva tegvust AS-is BPV?

Firma direktor -Aleksandr Rotko, Igapaievategevust juhtis seal ka Anti N66p, kes oli
sadama juht,

Millised tilesanded olid Olga Kotoval?

-Ei osak delda, seal olj palju Olgasid, ei teadnud, kes millega tegeles.

Kas Te olite teadlik, et Olga Kotova oli tegelikult AS BPV juhatuse liige, mitte
Aleksandr Rotko?

- ei teadnud, sest ma ei suuda iildse meenutada, kes ta oli.

 

Kelle korraldusel Ja millal eemaldati aadressil Kiiti tn 17 ja Kiiti tn 17.a lennusadama

territooriumilt, Tallinn sadamakai katteplaadid, léhuti- osaliselt Katlamaja ning

eemaldati sealt katel, viidi ara raudteerelsid, katkestati vee- ja clektrivarustus?

Kuhu_ viidi raudtcerelsid, kuhu viidi kai katteplaadid, kuhu  viidi eemaldatud

katlamaja?

-Kui ma sealt firmast lahkusin, minu meelest oli see millalgi kevadel, enam tapset

kuud ej mileta, siis veel midagi sealt fra viidud ei olnud. Nii kraanad, raudtecrelsid,
i kai katteplaadid olid alles. Kes, millal ja miks nad sealt dra viis, ei oska Gelda. Ej

ole kellegile sealt firmast ka hiljem suhelnud, kuna mul varastati ara mobiiltelefon,

kus mul olid kdigi kontaktid.

-Miletan, et keegi midagi riiikis, et siit véctakse tiles raudteerelsid ja kai katteplaadid,

Raagiti, et neid raudtee r6dpaid ei ole seal vaja ning seepirast need ka sealt iiles

voetakse. Rohkem midagi selle asja kohta ei tea.

Kui ma protokolli labi lugesin, meenus, et keegi riiakis ka, et mingi Olga on juhatuse

liige, arvan, et see oli see Olga, kes oli sekretiir. Nagin, et nad kdisid tihtipeale koos

Aleksandr Rotko’ga. Mis asja nad koos ajasid seda ma ei tea.

 

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 véib kohtueelse
menetluse andmeid avaldada iiksnes prokuratuuri loal ja tema maaratud ulatuses.

Uurimistoimingu lopp:,; Arthketluaeg} th hs ‘ fouz
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EXT-ROTKO-000091

 
 

 

 

 

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Translation fram Estonian

 

NORTH POLICE PREFECTURE

MINUTES ON QUESTIONING OF WITNESS
in the criminal matter No. 06730000427

15'" December 2006 Tallinn
Investigative proceeding started at: 12:00 /time/

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime

Department of the North Police Prefecture,
[name and professional status of the official conducting the proceeding]

guided by sections 68, 74 and 146 of the Code of Criminal Procedure, questioned as witness:

1. Witness:
Aleksei Bassenkoy _ personal data enclosed with the minutes in an envelope

The rights and obligations of witness:

A witness shall give truthful testimony unless there are lawful grounds specified in sections 71-73 of this Code
for refusal to give testimony (section 66 (3)). The rights and obligations of witnesses and the right to write the
testimony in hand-writing shall be explained to a witness (section 68 (1)). While giving testimony, a witness may
use notes and other documents concerning numerical data, names and other information which is difficult to
memorise (section 68 (3)). The following persons have the right to refuse to give testimony as witnesses: the
descendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or,
accused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
accused; a step or foster parent or a step or foster child of the suspect or accused; an adoptive parent or an
adopted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
accused, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
(section 71 (1)). A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
person listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
he or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
(2)). The following persons have the right to refuse to give testimony as witnesses concerning the circumstances
which have become known to them in their professional activities: the ministers of religion of the religious
organisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care
professionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or
health of a person; persons on whom the obligation to maintain a professional secret has been imposed by law
(section 72 (1)). A witness has the right to refuse to give testimony concerning circumstances to which the State
Secrets Act applies (section 73 (1)).

2. Rights and obligations have been explained to witness pursuant to sections 66-73 of the
Code of Criminal Procedure. A witness of at least 14 year old has been warned that the
unjustified refusal from giving testimony and giving knowingly false testimony are
punishable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

/signature/ 7 (signature of witness)

  
 

3, Investigative proceeding is attended by interpreter: ... J. Koovit ... [name and contact
who has been warned of the liability for the unjustified refusal to perform his or her
for the provision of a knowingly falseXhieepreaieipursuant to sections 318, 3210

 
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/signature/ (signature of interpreter)

4. Testimony:

In which time period and on what position did you work in AS BPV?

- Starting from 2005 until spring of 2006, I was an auxiliary worker in the saw-mill.

What was the activity in which AS BPV operated?

- Processing of saw-timber.

Who directed the regular operation of the company in AS BPV?

- Director of the company — Aleksandr Rotko. The regular operation there was also directed
by Anti Nédép, who was the chief of the port.

What were the duties of Olga Kotova?

- | cannot tell, there were many called Olga, I did not know who was engaged in what.

Were you aware, that Olga Kotova was actually a member of management board of the
company, and not Aleksandr Rotko?

- No, I did not know that, because I cannot recall at all, who she was.

 

On whose order and when from the territory of the Seaplane Harbor at the address Kiiti street
17_ and Kiiti_street_17a, Tallinn, were removed cover slabs of the dock, was_partially
destructed the boiler house and removed from there the kettle, were taken away railroad
tracks, was cut off the water supply and electricity supply?

Where the railroad tracks were taken to, where the cover slabs of the dock were taken to,
where the removed boiler house was taken to?

- When I resigned from that company, as far as I remember, it was some time in spring, I do
not remember the exact month any more, then nothing had been removed from there yet. The
cranes, the railroad tracks as well as the cover slabs of the dock were there. Who, when and
why removed them from there, I cannot tell. Neither have I communicated with anybody from
that company later, because my mobile phone, where I had everyone’s contacts, was stolen.

- | remember somebody telling something like that the railroad tracks and the cover slabs of. -
the dock will be removed from here. It was told, that these railroad tracks are not needed there
and therefore they will be removed from there. I now nothing more about this matter.

When I read through the minutes, I remembered somebody telling also, that some Olga is a
member of management board, I think this was the same Olga who was working as secretary.
I saw them often walking together with Aleksandr Rotko. What were they engaged in
together, I do not know.

 

Translation from Russian
5, Notes on minutes: Written according to my words correctly, translated to me.
[contents or absence of notes, minutes of hearing are read personally or read out}

Translation from Estonian

6. Participants of the investigative proceeding have been explained that pursuant to section
214 of the Code of Criminal Procedure information concerning the pre-trial proceedings shall
be disclosed only with the permission of and to the extent specified by the Prosecutor’s

Office.

Investigation proceeding finished at; 12:45 /time]

recite K. Tehver /signature/.......... ...... Aleksei Bassenkov ......
[name of person conducting the proceeding] [name of the witness]
/signature/

EXT-ROTKO-000093

 

 

 
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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000927

“14” detsember 2006a Tallinn
[wurintistoimingu koht] ‘

Uurimistoimingu algus 10.00 /kellaaeg]

Pohja _—Politseiprefektuuri kriminaalosakonna = majanduskuritegude _talituse

politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus ja nimi)

3 juhindudes KrMS §-dest 68, 74 ja 146 kuulas tile tunnistaja:

1,Tunnistaja Tonu Rinaldi
isikuandmed: lisatud timbrikus protokolli juurde

Tunnistaja digused ja kohustused:

Tunnistaja on kohustatud andma t6eseid titlusi, kui iitluste andmisest keeldumiseks puudub seaduslik alus
kiesoleva seadustiku §-de 71-73 jargi (KrMS § 66 lg 3). Tunnistajale selgitatakse tema digust kirjutada Utlusi
omakdeliselt (KrMS § 68 Ig 1). Tunnistaja vib itlusi andes kasutada arvandmete ning nimede ja muude raskesti
meclespectavate andmete kohta markmeid ja muid dokumente (KrMS § 68 lg 3). Oigus keelduda tunnistajana
Gtluste andmisest on kahtlustatava vdi siiiidistatava: alanejal ja Glenejal sugulasel; del, pooléel, vennal, poolvennal
voi isikul, kes on vdi on olnud abielus kahtlustatava vdi siiiidistatava Ge, poolde, venna voi poolvennaga; vddras-
vdi kasuvanemal, vOGras- vdi kasulapsel; lapsendajal ja lapsendatul; abikaasal, pilsivas kooselus oleval isikul ja
tema vanemal, scalhulgas pirast abiclu vdi ptisiva kooselu loppemist (KrMS § 71 lg 1). Tunnistaja voib keelduda
iitluste andmisest ka siis, kui Utlused vdivad kuriteo vdi vaiirteo toimepanemises silistada teda ennast voi
kdesoleva paragrahvi dikes | loetletud isikuid (KrMS § 71! Ig 2). Oigus tunnistajana keelduda kutsetegevuses
teatavaks saanud asjaolude kohta titluste andmisest on: Eestis registrecritud usuorganisatsiooni vaimulikul; kaitsjal
ja notaril, kui seaduses ei ole sdtestatud teisiti; tervishoiutdétajal ja farmatseudil isiku paritolusse, kunstlikku
viljastamisse, perekonnasse vdi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti-
voi kutsesaladuse hoidmise kohustus (KrMS § 72 lg 1). Tunnistajal on digus keelduda dtluste andmisest nende
asjaolude kohta, mille suhtes kohaldatakse ciigisaladuse seadust (KrMS § 73 Ig 1),

 

2.Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Wihemalt 14-aastast tunnistajat on hoiatatud, et  titluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale iitluse andmise eest jargneb
vastutus KarS §-de 318 ja 320 jargi.

eeu eeptel (tunnistaja allkiri)

3, Warknistoimingus dsaleb tole? 222 c.j.cpasssasasisccniaieesacaveccsivessbleviastece ii
[nimi ja kontaktaadress], keda on hoiatatud, et oma iilesannete taitmises
keeldumise ja teadvalt valesti tolkimise eest vastutab ta KarS §-de 318 ja 321

   

(t6lgi allkiri)

 

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4. Utlused:

Mis ajavahemikul ja kellena Te tédtasite AS BPV?

-Alates 2001.q kuni 2006.a juuli kuuni ning tddtasin saekaatris Puidutdétlejana,
Millise tegevusalapa tegeles AS BPV?

~Saematerjalide (6dtlemisega,

Kes juhtis firma igapdeva tegvust AS-is BPV? Firma igapdevategevust juhtis -
Aleksandr Rotko,

Millised iilesanded olid Olga Kotoval?

-Olga Kotova oli sekretir,

Kas Te olite teadlik, et Olga Kotova oli tegelikult AS BPV juhatuse hige, mitte
Aleksandr Rotko?

- olin seda kuulnud, kuid tema tegi sekretir tOdd, firmat juhtis ikkagi Rotko,

Kelle korraldusel ja millal eemaldatj aadressil Kiiti tn 17 Ja Kiiti tn 17,4 lennusadama
territooriumilt, Tallinn kai katteplaadid, l6huti osaliselt katlamaja ning eemaldati sealt
katel, viidi ara raudteerelsid, katkestat; Vvee- ja elektrivarustus?

- Minu miiletamist mdéda oli see millalgi suvel, see Vois olla juuli kuus, see olj
Vahetult enne kui firma seal legevuse juuli ldpul ldpetas, tellis Aleksandr Rotko sinna
Mingisuguse firma, kes Véttis file kOigepealt vist kai katteplaadid, slis raudteerelsid,
kraanad, katlamaja. Millises Jatjekorras neid tapselt cemaldati, ei tea. Seda tehti minu
meelest korraga, sest kogu aeg seal 166 kis. Meie firma (OGtajatest, seda keegi ej

 

katlamaja?
-Kuhu tapselt Viidi, ei tea. Arvan, et metal] Viidi kokkuostu, kuhu tapselt, ei tea. Mis
aga tehti kaj katteplaatitega, lildse ei ole aimu.

Peale seda kui ma sealt todlt lahkusin, enam kellegiga nendest suhelnud ei ole. Mis
praegu Aleksandr Rotko teeb, ei oska samuti Gelda,

Kas Te oskate 6elda, kas angaaride katuseluukidel olid peal katted enne juuli kuud,
kui te sealt lahkusite?

- Seda ma ei oska Selda. Hoidsime kil] seal all mingit Sacmaterjali, aga kas seal
kuplil oli katuse peal, ei tea. Arvatavastj Pidi seal luuk peal olema, kuna see materjal
oli seal all kuiv, kuid kuna ma ise seda nij lapselt ej vaadanud, siis kinnitada ei saa.
Samuti voin kinnitada, et kedagi seal katuse otsas neid kupleid maha votmas, kiill ei
nainud,

ee eens Siew Fahad
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Translation from Estonian

  

NORTH POLICE PREFECTURE

MINUTES ON QUESTIONING OF WITNESS
in the criminal matter No. 06730000427

14" December 2006 Tallinn

 

Investigative proceeding started at: 10:00 /time]

 

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime ;

Department of the North Police Prefecture, !
[name and professional status of the official conducting the proceeding]

guided by sections 68, 74 and 146 of the Code of Criminal Procedure, questioned as witness:

1. Witness Tonu Rinaldi ]
personal data: enclosed with the minutes in an envelope

The rights and obligations of witness:

A witness shall give truthful testimony unless there are lawful grounds specified in sections 71-73 of this Code
for refusal to give testimony (section 66 (3)). The rights and obligations of witnesses and the right to write the
testimony in hand-writing shall be explained to a witness (section 68 (1)). While giving testimony, a witness may
use notes and other documents concerning numerical data, names and other information which is difficult to
memorise (section 68 (3)). The following persons have the right to refuse to give testimony as witnesses: the
descendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
accused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
accused; a step or foster parent or a step or foster child of the suspect or accused; an adoptive parent or an
adopted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
accused, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
(section 71 (1)). A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
person listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
he or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
(2)). The following persons have the right to refuse to give testimony as witnesses concerning the circumstances
which have become known to them in their professional activities: the ministers of religion of the religious
organisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care \
professionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or |
health of a person; persons on whom the obligation to maintain a proféssional secret has been imposed by law
(section 72 (1)). A witness has the right to refuse to give testimony concerning circumstances to which the State

Secrets Act applies (section 73 (1)).

 

  

2. Rights and obligations have been explained to witness pursuant to sections 66-73 of the
Code of Criminal Procedure. A witness of at least 14 year old has been warned that the
unjustified refusal from giving testimony and giving knowingly false testimony are
punishable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

  

 

/signature/ (signature of witness)
3, Investigative proceeding is attended HR BBGARES cscssctscesssssesesessuseneassson [name arfifi conta
address] who has been warned of the liability for the unjustified refusal to perform hi
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duties and for the provision of a knowingly false interpretation pursuant to sections 318, 321
of the Penal Code.

(signature of interpreter)

4. Testimony:

In which time period and on what position did you work in AS BPV?

- Starting from 2001 until July 2006 I worked in the saw-mill as a woodworker.

What was the activity in which AS BPV operated?

- Processing of saw-timber.

Who directed the regular operation of the company in AS BPV?

- The regular operation of the company was directed by Aleksandr Rotko.

What were the duties of Olga Kotova?

- Olga Kotova was a secretary,

Were you aware, that Olga Kotova was actually a member of management board of the
company. and not Aleksandr Rotko?

- I had heard that, but she was performing the duties of a secretary, the company was after all
directed by Aleksandr Rotko.

 

On whose order and when from the territory of the Seaplane Harbor at the address Ktiti street
17 and Kiiti. street 17a, Tallinn. were removed cover slabs of the dock, was_partially
destructed the boiler house and removed from there the kettle, were taken away railroad
tracks, was cut off the water supply and electricity supply?

- As far as I remember, it was some time in summer, it could be in July, it was directly before
the company closed its business there, Aleksandr Rotko ordered some company there, which
removed first probably the cover slabs of the dock, then the railroad tracks, the cranes, the
boiler house. Exactly in what order they were removed, I do not know. In my mind it was
done at the same time, as work was done there all the time. No-one from our company did this
work, as separate workmen were called for that purpose.

Where the railroad tracks were taken to, where the cover slabs of the dock were taken to,
where the removed boiler house was taken to?

- Where were they taken exactly, I do not know. I guess that the metal was taken to some
buying-up place, where exactly, I do not know. But what was done with the cover slabs of the
dock, I have no clue at all.

After my resignation from that company I have not communicated with anybody from them
anymore. What is Aleksandr Rotko engaged in at present, I also cannot tell.

Can you tell, did the roof doors of the hangars have coverings on them before July when you

left the place?
- I cannot tell that. We were, indeed, keeping some saw-timber there under it, but were there

the cupolas on the roof, that I do not know. Probably it must have been covered with trapdoor,
as the material there under it was dry, but as I did not look so precisely myself, I cannot

confirm it.
Likewise, I can confirm, that I did not, indeed, see anybody on that roof removing these

cupolas.

5. Notes on minutes: The minutes have been written according to my words and have been

  
 

read through, /signature/ (EER
[contents or absence of notes, minutes of hearing are read personally or read out] (EON Nar i

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6. Participants of the investigative proceeding have been explained that pursuant#t6 ont A
214 of the Code of Criminal Procedure information concerning the pre-trial proceding shi HTS \, A
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be disclosed only with the permission of and to the extent specified by the Prosecutor’s
Office.

Investigation proceeding finished at: 10:45 /time]

 

 

  

 

   

vanataoie K, Tehver /signature/ .......66 vetbazasas POU Ririaldl 3; ccsesses
[name of person conducting the proceeding] [name of the witness]
/signature/
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j
Ns 4
Translator Kadi Kuusk has been warned of the liability pursuant to sections 318, 321 af the Penal Code."'¥xy_ 53"
EXT-ROTKO-000098

 

 
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POHJA POLITSEIPREFEKTUUR

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000225

“29” september 2006a Tallinn
[uurimistoimingu koht] ’

Uurimistoimingu algus 15.15 fkelluaeg)

Pohja Politseiprefektuuri kriminaalosakonna majanduskuritegude _talituse
politseijuhtivinspektor Kaari Tehver,
(Menetleja ametinimetus Ja nimi)

Juhindudes KrMS §-dest 68, 74 ja 146 kuulas iile tunnistaja:
1.Tunnistaja andmed:

I)Nimi: Valdo Seiler

[ees-ja perekonnanimi]

2)Isikukood véi stinniaeg: 36905130333

fisikukoodi pundumnisel Ssiinniaeg]

3)Kodakondsus EV

[eesti, vene jm]

4)Haridus: keskeri
falg-, pohi-, kesk-, keskeri-, krgem haridus]

5)Elu- véi asukoht: Riidaku Kila, Rapla Maakond 78403

faadress véi jdetakse mérkimata tunnistaja taothusel]

6)T6ékoht v6i Sppeasutus: OU Riidaky Tédkoda

[nimetus vai jéetakse markimata tunnistaja taotlusel]

7)Kontaktandmed: tel: 525] 380

[sidevahendi number vai e-posti aadress]

8)Suhe kannatanu ja kahtlustatavaga:
[mis laadi subted on kannatann ja Aahtlustetevaga]

9)Isikusamasus tuvastatud: EE 574014

[dokumendi nimerus vas]

 

Tunnistaja digused ja kohustused:
Tunnistaja on kohustatud andma tOeseid Utlusi, kui Gtluste andmisest keeldumisekseprudub scaduslik alus
kdesoleva seadustiku §-de 71-73 Jargi (KrMS § 66 Ig 3). Tunnistajale selgitata © Toray kirjutada titlusi
omakdeliselt (KrMS § 68 Ig 1). Tunnistaja voib Gtlusi andes kasutada eran hin ; eee ude raskesti
meelespeetavate andmete kohta rATIeOGid a. Build dokuments (KrMS § 6 Be) ra ee ee

A A oftiet/) €

   
 
  

 
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Otluste andmisest on kahtlustatava voi stiddistatava: alanejal ja dlenejal sugulasel; del, pooldcl, vennal, poolvennal
voi isikul, kes on voi on olnud abielus kahtlustatava voi sOiidistatava de, poolde, venna vi poolvennaga; vddras-
vOi kasuvanemal, vidras- v6i kasulapsel; lapsendajal ja lapsendatul; abikaasal, plsivas kooselus oleval isikul ja
tema vanemal, sealhulgas pdrast abielu voi pOsiva kooselu lOppemist (KrMS § 71 Ig 1). Tunnistaja voib keelduda
Otluste andmisest ka siis, kui Othused vdivad kuriteo vOi vilirteo toimepanemises silitstada teda ennast vdi
kdesoleva paragrahvi Idikes 1 loctletud isikuid (KrMS § 71 lg 2). Oigus tunnistajana kcelduda kutsetegevuses
teatavaks saanud asjaojude kohta Utluste andmisest on: Eestis registreeritud usuorganisatsiooni yaimulikul; kaitsjal
ja notaril, kui seaduses ei ole sitestatud teisiti; tervishoiutédtajal ja farmatseudil isiku puritolusse, kunstlikku
Viljastamisse, perekonnasse voi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti-
voi kutsesaladuse hoidmise kohustus (KrMS § 72 Ig 1). Tunnistajal on digus keelduda Otluste andmisest nende
asjaolude kohta, mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 Ig |).

2.Tunnistajale on tutvustatud tema Gigusi ja kohustusi KrMS §-des 66-73 ning
selgitatud nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et  titluste
andmisest seadusliku aluseta keeldumise ja teadvalt vale itluse andmise eest jargneb
vastutus KarS §-de 318 ja 320 jargi.

( Ye iD (tunnistaja allkiri)

3.Uurimistoimingus osaleb t6]k: ........:.ccsceeseceeeeeeeseeseaevsessecseceneseceaseeseuesers
[nimi ja kontaktaadress], keda on hoiatatud, et oma {filesannete tditmisest alusetu
keeldumise ja teadvalt valesti tlkimise eest vastutab ta KarS §-de 318 ja 321 jargi.

(t6lgi allkiri)

 

4. Utlused:

Suvel 2006 juuni (tapset kuupHeva ei maleta) kaisin Lennusadama territooriumil oma
transpordiga jargi kasepindade koormal. Esimel korral kui seal territooriumi] kaisin
méarkasin, et seal véeti iiles kraanadega suuri betoonplaate kai darselt laoplatsilt, mis
pandi kohe ka kraanaga veoauto peale. Umbes kolme pieva pérast liksin
Lennusadama territooriumile jargi teisele kasepindade koormale ning sel ajal kui seal
mulle koormat peale laoti mirkasin, et seal vGeti tiles raudteerelsse, mis tdsteti
omakorda Kuusakoski firma eraldusmarke kandvale veoautole. Selleks korraks olid
juba enamus betoonplaate sealt laoplatsilt tiles vGetud. Sel samal korral nagin ka kui
l6igati gaasikeevituse maha seda sadamakail asuvat kraanat. Sel hetkel oli maha
véetud juba kraana nool. Umbes nadala aega hiljem kui olin Kiili ja Luige ristis
asuvas sd6gikohas méarkasin kahte veoautot, mis vedasid tapselt sarnaseid
betoonplaate. Kuna see tegevus tekitas minus kahtlust siis mirkisin tiles ka nende
veoautode numbrid: tthelt sain auto numbri (reg nr. 235 ANC) ja teiselt masinalt sain
karu numbri (reg.nr. 30SBR). Teavitasin sellest minu méletamist Kaitseministeeriumi,
kuna eeldasin et see Lennusadam tagastatakse neile. Peale seda, kui Lennusadam oli
toimunu kohta s6na, helistasin Justiitsministeeriumisse ning teavitasin neid g
toimunust, mida ma seal négin.

5.Markused protokolli kohta: er oxelse WL hes Svat won ties

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(méirgitakse nidirkuste $isu vot nende purdumine: protokoll loetud /dbi isiklikult vai loetud ette]
P

6.Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS § 214 voib kohtueelspajn (\wx:

menetluse andmeid avaldada iiksn¢es prokuratuuri loal ja tema méaratud ulatuses.

 
     
 

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as 3:19-mc-00027-BJD-JRK Document 1-2 Filed 11/19/19 Page 59 of 59 PagelD 108

Uurimistoimingu lépp: » [kellydeg]

LE. (bas

Cem n eee eee eee er eee eee ewe Peewee ewe ee

[menetlejaametniku simi]

  
  

[tunnistaja nimi]

 

 

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